Case 1:13-md-02419-RWZ Document 3583-8 Filed 06/11/22 Page 1 of 59




            EXHIBIT H
CaseCase
     12-19882
         1:13-md-02419-RWZ
               Doc 1054 Filed
                            Document
                              12/03/143583-8
                                        Entered
                                              Filed
                                                 12/03/14
                                                    06/11/22
                                                          20:22:20
                                                              Page 2Desc
                                                                     of 59Main
                         Document     Page 1 of 58



                      UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF MASSACHUSETTS
                              EASTERN DIVISION


In re:
NEW ENGLAND COMPOUNDING                Chapter 11
PHARMACY, INC.,
                                       Case No. 12-19882-HJB
                            Debtor.


JOINT CHAPTER 11 PLAN OF NEW ENGLAND COMPOUNDING PHARMACY, INC.




DUANE MORRIS LLP                       BROWN RUDNICK LLP

Paul D. Moore, Esq.                    William R. Baldiga, Esq.
100 High Street                        Kiersten A. Taylor, Esq.
Suite 2400                             One Financial Center
Boston, MA 02110                       Boston, MA 02111
Telephone: (857) 488-4200              Telephone: (617) 856-8200
Facsimile: (857) 401-3057              Facsimile: (617) 856-8201

Chapter 11 Trustee
                                       David J. Molton, Esq.
                                       7 Times Square
                                       New York, NY 10036
                                       Telephone: (212) 209-4800
                                       Facsimile: (212) 209-4801

                                       Counsel to the Official Committee
                                       of Unsecured Creditors




Dated: December 3, 2014
CaseCase
     12-19882
         1:13-md-02419-RWZ
               Doc 1054 Filed
                            Document
                              12/03/143583-8
                                        Entered
                                              Filed
                                                 12/03/14
                                                    06/11/22
                                                          20:22:20
                                                              Page 3Desc
                                                                     of 59Main
                         Document     Page 2 of 58



                                                TABLE OF CONTENTS

ARTICLE I. DEFINITIONS AND INTERPRETATION ...................................................................... 1
ARTICLE II. ADMINISTRATIVE EXPENSE CLAIMS AND PRIORITY TAX CLAIMS ........... 18
    2.01     Administrative Expense Claims.................................................................................. 18
    2.02     Deadlines to Assert Administrative Expense Claims. ................................................ 18
    2.03     Priority Tax Claims ..................................................................................................... 19
ARTICLE III. CLASSIFICATION OF CLAIMS AND EQUITY INTERESTS ............................... 19
    3.01     Classification of Claims and Equity Interests ............................................................. 19
ARTICLE IV. TREATMENT OF CLAIMS AND EQUITY INTERESTS ........................................ 20
    4.01     Class A - Priority Non-Tax Claims............................................................................. 20
    4.02     Class B - Miscellaneous Secured Claims.................................................................... 20
    4.03     Class C - General Unsecured Claims .......................................................................... 20
    4.04     Class D - Tort Claims ................................................................................................. 20
    4.05     Class E - Subordinated Claims ................................................................................... 21
    4.06     Class F - Equity Interests ............................................................................................ 21
ARTICLE V. SETTLEMENT OF TORT CLAIMS AND THE NECC TORT TRUST .................. 22
    5.01     Settlement and Compromise ....................................................................................... 22
    5.02     Exhaustion of Insurance Policies ................................................................................ 22
    5.03     Execution of Tort Trust Agreement ............................................................................ 22
    5.04     Purpose of Tort Trust .................................................................................................. 22
    5.05     Assets of the Tort Trust............................................................................................... 22
    5.06     Governance of the Tort Trust ...................................................................................... 23
    5.07     Role of the Tort Trustee .............................................................................................. 23
    5.08     Investments ................................................................................................................. 23
    5.09     Fees, Costs and Expenses of the Tort Trust ................................................................ 24
    5.10     Distribution of the Tort Trust Assets .......................................................................... 24
    5.11     Resolving Liens Other than Imposed by the Medicare Act and States’ Medicaid and
             Worker Compensation Statutes................................................................................... 26
    5.12     Time of Tort Trust Distributions................................................................................. 26
    5.13     Tax Treatment of Tort Trust ....................................................................................... 26
    5.14     Resolution of the Claims of Minors In Accordance With the Tort Trust ................... 29
    5.15     Access to Claims Information ..................................................................................... 29
    5.16     Distribution of Surplus................................................................................................ 30
CaseCase
     12-19882
         1:13-md-02419-RWZ
               Doc 1054 Filed
                            Document
                              12/03/143583-8
                                        Entered
                                              Filed
                                                 12/03/14
                                                    06/11/22
                                                          20:22:20
                                                              Page 4Desc
                                                                     of 59Main
                         Document     Page 3 of 58



    5.17     Payments to Post-Effective Date Debtor .................................................................... 30
ARTICLE VI. MEANS FOR IMPLEMENTATION AND EXECUTION OF THIS PLAN ............ 30
    6.01     Management of the Post-Effective Date Debtor ......................................................... 30
    6.02     Duties and Powers of the Post-Confirmation Officer ................................................. 31
    6.03     Other Actions .............................................................................................................. 33
    6.04     Expense Fund .............................................................................................................. 33
    6.05     Distributions Under this Plan ...................................................................................... 33
    6.06     Disallowance of Multi-Claimant Proofs of Claim ...................................................... 34
    6.07     Procedures for Treating Disputed Claims. .................................................................. 34
    6.08     Closing of the Chapter 11 Case .................................................................................. 35
    6.09     Cancellation of Existing Agreements ......................................................................... 35
    6.10     Continued Corporate Existence .................................................................................. 35
    6.11     Effectuating Documents and Further Transactions..................................................... 36
ARTICLE VII. PROVISIONS GOVERNING DISTRIBUTIONS ...................................................... 36
    7.01     Distribution Record Date ............................................................................................ 36
    7.02     Delivery of Distributions and Undeliverable Distributions ........................................ 36
    7.03     De Minimus Distributions........................................................................................... 37
    7.04     Transactions on Business Days ................................................................................... 37
    7.05     Allocation of Plan Distribution Between Principal and Interest ................................. 37
    7.06     Withholding and Reporting Requirements ................................................................. 37
ARTICLE VIII. EXECUTORY CONTRACTS AND UNEXPIRED LEASES .................................. 38
    8.01     Executory Contracts and Unexpired Leases ............................................................... 38
    8.02     Insurance Policies and Agreements ............................................................................ 38
    8.03     Approval of Rejection of Executory Contracts and Unexpired Leases ...................... 38
    8.04     Rejection Claims ......................................................................................................... 38
    8.05     Rejection Claims of Officers and Directors of the Debtor ......................................... 39
ARTICLE IX. EFFECTIVENESS OF THIS PLAN ............................................................................. 39
    9.01     Conditions to Confirmation ........................................................................................ 39
    9.02     Date of Effective Date ................................................................................................ 39
    9.03     Satisfaction of Conditions ........................................................................................... 39
    9.04     Occurrence of Effective Date...................................................................................... 39
    9.05     Substantial Consummation Upon Effective Date ....................................................... 39
ARTICLE X. EFFECT OF CONFIRMATION..................................................................................... 39

                                                                   ii
CaseCase
     12-19882
         1:13-md-02419-RWZ
               Doc 1054 Filed
                            Document
                              12/03/143583-8
                                        Entered
                                              Filed
                                                 12/03/14
                                                    06/11/22
                                                          20:22:20
                                                              Page 5Desc
                                                                     of 59Main
                         Document     Page 4 of 58



    10.01 Vesting of Assets ........................................................................................................ 39
    10.02 Binding Effect ............................................................................................................. 40
    10.03 Exculpations and Limitation of Liability .................................................................... 40
    10.04 Preservation and Non-Waiver of Estate Defenses and Objections and Related Rights
          Reserved for the Debtor, its Successors in Interest, Creditors and Parties in Interest 40
    10.05 Releases....................................................................................................................... 41
    10.06 Injunctions................................................................................................................... 44
    10.07 Covenant Not to Sue ................................................................................................... 46
    10.08 Covenant Not to Sue (Shareholder and Affiliate Released Parties) ........................... 46
    10.09 Terms of Pre-Plan Injunction and Stays ..................................................................... 46
ARTICLE XI. RETENTION OF JURISDICTION .............................................................................. 46
    11.01 Jurisdiction of Bankruptcy Court ................................................................................ 46
ARTICLE XII. MISCELLANEOUS PROVISIONS ............................................................................ 48
    12.01 Reporting of Shareholder Settlement Payments ......................................................... 48
    12.02 Tax Information to be Provided to Shareholders ........................................................ 48
    12.03 Refunds ....................................................................................................................... 48
    12.04 Withdrawal of the Reference ...................................................................................... 48
    12.05 Dissolution of the Official Committee ........................................................................ 48
    12.06 Quasi-Judicial Immunity............................................................................................. 49
    12.07 Payment of Statutory Fees .......................................................................................... 49
    12.08 Effectuating Documents and Further Transactions..................................................... 49
    12.09 Exemption from Transfer Taxes ................................................................................. 49
    12.10 Elimination of Vacant Classes .................................................................................... 49
    12.11 Nonconsensual Confirmation...................................................................................... 49
    12.12 Modification of Plan ................................................................................................... 49
    12.13 Revocation or Withdrawal of Plan .............................................................................. 50
    12.14 Severability ................................................................................................................. 50
    12.15 Schedules and Exhibits ............................................................................................... 50
    12.16 Successors and Assigns............................................................................................... 50
    12.17 Notices ........................................................................................................................ 51
    12.18 No Admission ............................................................................................................. 51
ARTICLE XIII. CONFIRMATION REQUEST ................................................................................... 51



                                                                    iii
CaseCase
     12-19882
         1:13-md-02419-RWZ
               Doc 1054 Filed
                            Document
                              12/03/143583-8
                                        Entered
                                              Filed
                                                 12/03/14
                                                    06/11/22
                                                          20:22:20
                                                              Page 6Desc
                                                                     of 59Main
                         Document     Page 5 of 58



       Paul D. Moore, as chapter 11 trustee (the “Chapter 11 Trustee”) of New England
Compounding Pharmacy, Inc., a Massachusetts corporation, the above-captioned debtor (the
“Debtor”) and the Official Committee of Unsecured Creditors (the “Official Committee” and
together with the Chapter 11 Trustee, the “Plan Proponents”) propose the following chapter 11
plan (the “Plan”) pursuant to section 1121(a) of title 11 of the United States Code (the
“Bankruptcy Code”). This Plan proposes to resolve all Claims against and Equity Interests in
the Debtor. IN PARTICULAR, CREDITORS AND PARTIES IN INTEREST SHOULD
REVIEW SECTIONS 10.05 AND 10.06 OF THIS PLAN, WHICH PROVIDE FOR THIRD-
PARTY RELEASES AND INJUNCTIONS THAT MAY AFFECT THE RIGHT TO PURSUE
CLAIMS AGAINST NON-DEBTOR PARTIES AFTER THE PLAN IS CONFIRMED. The
Plan Proponents reserve the right to, among other things, alter, amend, modify, revoke or
withdraw this Plan prior to the Effective Date as set forth in section 12.12 and 12.13 of this Plan.

                                      ARTICLE I.
                           DEFINITIONS AND INTERPRETATION

       A.      Definitions.

      The following terms used herein shall have the respective meanings defined below (such
meanings to be equally applicable to both the singular and plural):

        1.01 Additional Tort Trust Assets. Any Cash or Cash equivalent realized by the Estate
Representative, solely in his capacity as such, after the Confirmation Date from or as a result of
Settlement Agreements, including, but not limited, to the Tax Contributions (as defined in the
Shareholder Settlement Agreement), and the proceeds of the sale, monetization or liquidation of
Estate assets or other assets that the Estate Representative is entitled to sell for the benefit of the
Estate in accordance with the Settlement Agreements or Section 6.02 hereof, together with all
earnings thereon, less the amount the Estate Representative determines should be reserved as
Cash.

        1.02 Administrative Expense Claim. Any right to payment constituting a cost or
expense against either of the Debtor or its Estate, that is given administrative priority status
pursuant to sections 503(b) and 507(a)(1) and (2) of the Bankruptcy Code, including, without
limitation, the actual and necessary costs and expenses of preserving the Estate from or after the
Petition Date, professional fees and expenses incurred by the Debtor, the Chapter 11 Trustee and
the Official Committee, any indebtedness or obligations properly incurred or assumed by the
Debtor from or after the Petition Date and any fees or charges assessed against the Estate under
28 U.S.C. § 1930.

       1.03 Adversary Proceeding. The adversary proceeding in the Bankruptcy Court in
which the Chapter 11 Trustee is asserting various claims and causes of action against the
Adversary Proceeding Defendants, and certain other defendants, styled as Moore v. Cadden, et
al., Adversary Proceeding No. 13-01040 (Bankr. D. Mass.).

      1.04     Adversary Proceeding Defendants.             The Shareholders and the Affiliate
Defendants.
CaseCase
     12-19882
         1:13-md-02419-RWZ
               Doc 1054 Filed
                            Document
                              12/03/143583-8
                                        Entered
                                              Filed
                                                 12/03/14
                                                    06/11/22
                                                          20:22:20
                                                              Page 7Desc
                                                                     of 59Main
                         Document     Page 6 of 58



      1.05 Affiliate Defendants. Ameridose, LLC, GDC Properties Management, LLC and
Medical Sales Management, Inc.

     1.06 Affiliated Entities. The Entities set forth in Schedule 1.06 hereto, affiliates of
NECC or the Shareholders.

        1.07 Allowed. (i) Any Claim against the Debtor which has been listed by the Debtor in
the Schedules, as such Schedules may be amended by the Chapter 11 Trustee from time to time
in accordance with Bankruptcy Rule 1009, as liquidated in amount and not disputed or
contingent and for which no contrary proof of claim has been filed, (ii) any timely filed Claim as
to which no objection to allowance has been interposed or as to which other applicable period of
limitation fixed by the Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy Court, or as
to which any objection has been determined by a Final Order to the extent such objection is
determined in favor of the respective holder, or (iii) any Claim expressly allowed by a Final
Order or under and in accordance with this Plan (only to the extent so allowed).

       1.08    Ameridose. Ameridose LLC.

        1.09 Ameridose Excess Policies. (i) The Commercial Excess/Umbrella Liability
Policy PMIC issued to Ameridose, as named insured, under policy number UCL 0083404 04, for
the policy period of March 1, 2011 to March 1, 2012; and (ii) the Commercial Excess/Umbrella
Liability Policy PMIC issued to Ameridose, as named insured, under policy number UCL
0083404 05, for the policy period of March 1, 2012 to March 1, 2013.

       1.10 Ameridose Parties. Ameridose, and any of its directors, officers, members,
shareholders, insurers, owners, principals, employees, attorneys, predecessors, successors and
assigns, that are released from Claims under the Ameridose Settlement Agreement.

        1.11   Ameridose Policies. The Ameridose Excess Policies and the Ameridose Primary
Policies.

        1.12 Ameridose Primary Policies. (i) The Businessowners Special Policy PMIC
issued to Ameridose, as named insured, under policy number BOP 0083404 05, for the policy
period of March 1, 2011 to March 1, 2012; and (ii) the Businessowners Special Policy PMIC
issued to Ameridose, as named insured, under policy number BOP 0083404 06, for the policy
period of March 1, 2012 to March 1, 2013.

       1.13 Ameridose Settlement Agreement. The Ameridose, LLC, Insurance Settlement,
Release and Injunction Agreement dated as of November 24, 2014 by and among the Chapter 11
Trustee, PMIC (but no other Ameridose insurer), and Ameridose, substantially in the form
included in the Plan Supplement.

        1.14 Ameridose Settlement Payment. Cash in the amount of $10,000,000 to be paid
to the Estate pursuant to the Ameridose Settlement Agreement.

        1.15 Bankruptcy Code. Title 11 of the United States Code, as amended from time to
time, as applicable to the Chapter 11 Case.


                                                2
CaseCase
     12-19882
         1:13-md-02419-RWZ
               Doc 1054 Filed
                            Document
                              12/03/143583-8
                                        Entered
                                              Filed
                                                 12/03/14
                                                    06/11/22
                                                          20:22:20
                                                              Page 8Desc
                                                                     of 59Main
                         Document     Page 7 of 58



      1.16 Bankruptcy Court. The United States Bankruptcy Court for the District of
Massachusetts, having jurisdiction over the Chapter 11 Case.

       1.17 Bankruptcy Rules. The Federal Rules of Bankruptcy Procedure as promulgated
by the Supreme Court of the United States under section 2075 of title 28 of the United States
Code, as amended from time to time, applicable to the Chapter 11 Case, and any Local Rules of
the Bankruptcy Court.

       1.18   Bar Date. January 15, 2014 at 4:00 p.m. (Prevailing Eastern Time).

       1.19 Bar Date Order. In the Chapter 11 Case, the Order (I) Establishing Deadline for
Submitting Proofs of Claim, (II) Approving Certain Additional Requirements and Procedures for
Personal Injury Tort and Wrongful Death Claims and (III) Approving Form and Manner of
Notice Thereof dated September 27, 2013, together with all exhibits thereto [Chapter 11 Case
Docket No. 582].

       1.20 Business Day. Any day other than a Saturday, a Sunday or any other day on
which banking institutions in Boston, Massachusetts are required or authorized to close by law or
executive order.

       1.21   Cash. Legal tender of the United States of America.

       1.22 Chapter 11 Case. The case under chapter 11 of the Bankruptcy Code commenced
by the Debtor on December 21, 2012 in the Bankruptcy Court and styled as In re New England
Compounding Pharmacy, Inc., Case No. 12-19882.

        1.23 Chapter 11 Trustee. Paul D. Moore, solely in his capacity as chapter 11 trustee
for the Debtor.

       1.24   Claim. The meaning set forth in section 101(5) of the Bankruptcy Code.

       1.25   Claimant. A holder of a Claim.

       1.26 Claims Resolution Facility. The Personal Injury and Wrongful Death Claims
Resolution Facility established by the Claims Resolution Facility Procedures.

      1.27 Claims Resolution Facility Procedures. The Claims Resolution Facility
Procedures substantially in the form included in the Plan Supplement.

        1.28 Class. Any group of Claims or Equity Interests classified by this Plan pursuant to
section 1122(a)(1) of the Bankruptcy Code.

       1.29   Class C Cash. Cash in an aggregate amount equal to 90% of the Allowed Class C
Claims.

       1.30   Class C Claims. General Unsecured Claims that are classified under Class C.




                                               3
CaseCase
     12-19882
         1:13-md-02419-RWZ
               Doc 1054 Filed
                            Document
                              12/03/143583-8
                                        Entered
                                              Filed
                                                 12/03/14
                                                    06/11/22
                                                          20:22:20
                                                              Page 9Desc
                                                                     of 59Main
                         Document     Page 8 of 58



        1.31 Class D Claims. Tort Claims that are classified under Class D, including Tort
Claims held by any Entity that is subrogated to the rights of a Tort Claimant pursuant to section
4.04(iii) hereof.

        1.32   Class D Consortium Claim. Any Class D Claim arising from loss of consortium.

        1.33   Class D Estate Claim. Any Class D Claim filed on behalf of a decedent’s estate.

       1.34 Class E Cash. The Cash, if any, remaining in the Tort Trust after all Allowed
Tort Claims, fees, expenses and any other payments required to be paid or satisfied therefrom
have been fully paid or satisfied.

        1.35   Class E Claims. Subordinated Claims that are classified under Class E.

        1.36 Collateral. Any property or interest in property of the estate of the Debtor subject
to a lien, charge or other encumbrance to secure the payment or performance of a Claim, which
lien, charge or other encumbrance is not subject to avoidance under the Bankruptcy Code.

       1.37 Common Benefit Fund. The common benefit fund to be created pursuant to
Order No. 8 of the MDL Court in the MDL Proceeding, dated August 13, 2014 [MDL
Proceeding Docket No. 1333].

      1.38 Conditional Payment. Any payment made pursuant to Section 1395y(b)(2) of the
Medicare Act.

       1.39 Confirmation Date. The date on which the Clerk of the Bankruptcy Court enters
the Confirmation Order on the docket in the Chapter 11 Case.

        1.40 Confirmation Hearing. The hearing held by the Bankruptcy Court pursuant to
section 1128 of the Bankruptcy Code to consider confirmation of this Plan.

        1.41   Confirmation Order. The order confirming this Plan.

        1.42   Contributing Parties. The Shareholders and the Other Contributing Parties.

       1.43 Contributor and Affiliate Released Claims. Contributor and Affiliate Released
Claims has the meaning set forth in the Shareholder Settlement Agreement.

        1.44   Creditor. Creditor has the meaning set forth in section 101(10) of the Bankruptcy
Code.

        1.45   Debtor. New England Compounding Pharmacy, Inc., as debtor in the Chapter 11
Case.

       1.46 Disclosure Statement. The disclosure statement relating to this Plan, including,
without limitation, all exhibits thereto, as may be amended or modified from time to time, as
approved by the Bankruptcy Court pursuant to section 1125 of the Bankruptcy Code



                                               4
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                              Filed
                                                 12/03/14
                                                    06/11/22
                                                          20:22:20
                                                              Page 10
                                                                    Desc
                                                                      of 59Main
                        Document      Page 9 of 58



       1.47 Disclosure Statement Hearing. The hearing held by the Bankruptcy Court
pursuant to section 1125 of the Bankruptcy Code to consider approval of the Disclosure
Statement.

        1.48 Disclosure Statement Order. The order of the Bankruptcy Court entered pursuant
to section 1125 of the Bankruptcy Code and Bankruptcy Rule 3017(b) approving the Disclosure
Statement.

        1.49 Disputed. With respect to any Claim which has not been Allowed pursuant to this
Plan or a Final Order:

       (a)     if no proof of claim has been filed by the applicable deadline: (i) a Claim that has
been or hereafter is listed on the Schedules as disputed, contingent or unliquidated; or (ii) a
Claim that has been or hereafter is listed on the Schedules as other than disputed, contingent or
unliquidated, but as to which the Chapter 11 Trustee, the Tort Trustee, the Official Committee or
any other party in interest has interposed an objection or request for estimation which has not
been withdrawn or determined by a Final Order;

        (b)    if a proof of claim or request for payment of an Administrative Expense Claim,
other than applications by professionals under section 330 of the Bankruptcy Code and fees
payable pursuant to 28 U.S.C. § 1930, has been filed by the applicable deadline set by the
Bankruptcy Court for the same: (i) a Claim or Administrative Expense Claim for which no
corresponding Claim has been or hereafter is listed on the Schedules; (ii) a Claim or
Administrative Expense Claim for which a corresponding Claim has been or hereafter is listed on
the Schedules as other than disputed, contingent or unliquidated, but the nature or amount of the
Claim as asserted in the proof of claim varies from the nature and amount of such Claim as listed
on the Schedules; (iii) a Claim or Administrative Expense Claim for which a corresponding
Claim has been or hereafter is listed on the Schedules as disputed, contingent or unliquidated; or
(iv) a Claim or Administrative Expense Claim for which a timely objection or request for
estimation is interposed by the Chapter 11 Trustee, the Official Committee or other party in
interest which has not been withdrawn or determined by a Final Order.

       1.50 Distribution Record Date. The date of entry of the Disclosure Statement Order,
fixed pursuant to Bankruptcy Rule 3018(a).

       1.51 District Court. The Article III court in and for the District of Massachusetts,
including, but not limited, to the District Court for the District of Massachusetts.

        1.52 Drugs. MPA and other products compounded, designed, marketed, sold,
distributed, fabricated, advertised, supplied, produced, or formulated by the Debtor.

       1.53 Effective Date. The date upon which all conditions to effectiveness set forth in
Section 9.02 of this Plan have been satisfied or waived.

       1.54 Entity. An individual, corporation, partnership, limited liability company,
association, joint stock company, joint venture, estate, trust, unincorporated organization,
government or any political subdivision thereof, or other person.


                                                5
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 11
                                                                   Desc
                                                                     of 59Main
                        Document     Page 10 of 58



       1.55    Equity Holder. Holder of an Equity Interest.

        1.56 Equity Interest. The interest of any holder of an equity security of NECC
represented by any issued and outstanding shares evidencing a present ownership interest in
NECC, all other interests in NECC of any type (including, without limitation, warranty, options
and instruments subject to conversion to interests), and any claims arising out of or pursuant to
such interests.

      1.57 Escrow Agreement(s). The escrow agreement(s), if any, entered into by and
between an escrow agent, the Chapter 11 Trustee and one or more of the Contributing Parties.

      1.58 Estate. The estate of the Debtor created pursuant to section 541 of the
Bankruptcy Code upon the commencement of the Chapter 11 Case.

        1.59 Estate Causes of Action. All of the Estate’s claims for relief, causes of action,
contested matters and lawsuits, whether known or unknown, existing or hereafter arising, in law,
equity or otherwise, based in whole or in part on any act or omission or other event occurring
prior to the Petition Date or during the course of the Chapter 11 Case, including through the
Effective Date, including, without limitation, (i) those arising under chapter 5 of the Bankruptcy
Code, (ii) any avoidance or fraudulent transfer or conveyance under applicable state law, and (iii)
those relating to the compounding, design, marketing, sale, distribution, fabrication, advertising,
supply, production, formulation, use, administration, labeling or ingestion of any product
produced, sold and/or distributed by the Debtor, including, but not limited to, the Drugs, and all
insurance policies owned by the Debtor; provided, however, that Estate Causes of Action shall
not include any causes of action the Estate may hold against any Estate Representative.

       1.60 Estate Parties. The Trustee, the Debtor, Estate, the Official Committee, the
Estate Representative(s), and each of their respective successors and assigns.

       1.61 Estate Representative. The Chapter 11 Trustee or any successor in interest to the
Chapter 11 Trustee in such capacity, including but not limited to the Post-Confirmation Officer,
whether such successor is appointed under this Plan, the Confirmation Order or otherwise.

       1.62 Expense Fund. The fund that may be established within the Tort Trust under,
and subject to the provisions of, Section 6.04 hereof.

       1.63 Expense Fund Administrator. The person that may be appointed by the Estate
Representative to administer the Expense Fund, solely in his or her capacity as such.

       1.64 Expense Fund Amount. Cash in such amount as the Estate Representative, in
consultation with the Official Committee (if the Official Committee has not been dissolved),
determines to be necessary or appropriate to be paid to the Expense Fund Administrator to fund
any Expense Fund that may be established within the Tort Trust.

       1.65 Final Order. An order or judgment of the Bankruptcy Court or other court of
competent jurisdiction with respect to the applicable subject matter hereof which has not been
reversed, stayed, modified or amended and as to which (a) any right to appeal or seek certiorari,
review, reargument, stay or rehearing has expired and no appeal or petition for certiorari, review,

                                                6
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 12
                                                                   Desc
                                                                     of 59Main
                        Document     Page 11 of 58



reargument, stay or rehearing is pending, or (b) an appeal has been taken or petition for
certiorari, review, reargument, stay or rehearing has been filed and (i) such appeal or petition for
certiorari, review, reargument, stay or rehearing has been resolved by the highest court to which
the order or judgment was appealed or from which certiorari, review, reargument, stay or
rehearing was sought or (ii) the time to appeal further or seek certiorari, review, reargument, stay
or rehearing has expired and no such further appeal or petition for certiorari, review, reargument,
stay or rehearing is pending; provided, however, that the possibility that a motion pursuant to
Rules 59 and 60 of the Federal Rules of Civil Procedure or Bankruptcy Rule 9023 and 9024 may
be filed relating to such order shall not cause such order to not be a Final Order.

       1.66 GDC. GDC Properties Management, LLC, and any of its directors, officers,
members, managers, shareholders, owners, principals, employees, attorneys, predecessors,
successors and assigns, each acting solely in their respective capacity as such.

        1.67 GDC Policies. (i) The Commercial Lines Insurance Policy Preferred Mutual
issued to GDC, as named insured, under policy number CPP 0150530884 for the policy periods
of September 27, 2011 to September 27, 2012, (ii) the Commercial Lines Insurance Policy
Preferred Mutual issued to GDC, as named insured, under policy number CPP 0160530884 for
the policy periods of September 27, 2012 to September 27, 2013, and (iii) any other known or
unknown insurance policies issued by Preferred Mutual to GDC prior to April 30, 2014.

     1.68 GDC Released Parties. All Persons and Entities released from Claims under the
GDC Settlement Agreement.

       1.69 GDC Settlement Agreement. The GDC Insurance Settlement and Release
Agreement dated as of April 30, 2014 by and among the Chapter 11 Trustee, GDC and the
Individual GDC Insureds and Preferred Mutual [Chapter 11 Case Docket No. 714-2], as
approved by the Bankruptcy Court at Chapter 11 Case Docket No. 970.

       1.70 GDC Settlement Payment. Cash in the amount of $3,750,000 paid to the Estate
pursuant to the GDC Settlement Agreement.

       1.71 General Unsecured Claim. General unsecured claims that are not Administrative
Expense Claims, Priority Tax Claims, Priority Non-Tax Claim, Miscellaneous Secured Claims,
Tort Claims or Subordinated Claims.

       1.72 High Point. High Point Surgery Center, Surgery Center Associates of High
Point, LLC, and High Point Regional Health f/k/a High Point Regional Health System,
d/b/a High Point Regional Hospital, and all of their respective directors, officers, members,
shareholders, owners, principals, employees, medical staff, contractors, attorneys, affiliates,
parents, subsidiaries, predecessors, successors and assigns, each acting in their respective
capacity as such.

       1.73 High Point Policy. The Healthcare Organizations Lead Excess & Umbrella
Policy, Policy Number 001220600 issued by Ironshore to High Point Regional Health System,
as named insured.



                                                 7
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 13
                                                                   Desc
                                                                     of 59Main
                        Document     Page 12 of 58



       1.74 High Point Settlement Agreement. The Settlement and Release Agreement dated
as of December 3, 2014 by and among the Chapter 11 Trustee, High Point, and Ironshore.

        1.75 High Point Settlement Payment. Cash in the amount of $3,500,000 paid to the
Estate pursuant to the High Point Settlement Agreement.

      1.76 Impaired. Any Class that is impaired within the meaning of section 1124 of the
Bankruptcy Code.

       1.77 Individual GDC Insureds. Any of GDC’s directors, officers, members,
managers, shareholders, owners, principals, employees, attorneys, predecessors, successors and
assigns, who are or may be an “insured” under the GDC Policies, including, but not limited to,
Gregory Conigliaro and Douglas Conigliaro, each acting solely in his, her, or its respective
capacity as such.

       1.78    Individual Insureds. The Individual NECC Insureds and the Individual GDC
Insureds.

        1.79 Individual NECC Insureds. Barry J. Cadden, Lisa M. Conigliaro Cadden,
Gregory Conigliaro, Carla Conigliaro, Glenn Chin, Christopher Leary, Jill Keough, Gene
Svirskiy and Kathy Chin, each solely in his or her capacity as an “insured” under the Maxum
Policies and/or the PMIC NECC Policies.

        1.80 Initial Tort Trust Assets. (i) The Shareholder Settlement QSF Monies (less the
amount the Tort Trustee, in his capacity as qualified settlement fund administrator, determines
should be reserved in the Shareholder Settlement QSF Account), (ii) the National Settlement
Payments (less the amount the Estate Representative determines should be reserved as Cash or
paid to the Shareholder Settlement QSF Account, which payments shall be deemed to have been
made pursuant to this Plan. As such, these payments will be considered to have been made
pursuant to a “court order” necessary to satisfy the requirements of Internal Revenue Code
section 468B), (iii) an amount of each of the Provider Settlement Payments to be provided by
and in each Provider Settlement Agreement, and (iv) the Estate Causes of Action.

        1.81 Inspira. Inspira Health Network, Inc.(f/k/a South Jersey Health System, Inc.),
Inspira Medical Centers, Inc. (f/k/a South Jersey Hospital, Inc.) and all of their respective
directors, officers, members, shareholders, owners, principals, employees, including, but not
limited to Joseph Alessandrini and Paul Abrams, attorneys, affiliates, predecessors, parents,
subsidiaries, including, but not limited to, Juno Assurance, successors and assigns, each
acting in their respective capacity as such. For purposes of this Plan, the affiliates of Inspira are
the following: Inspira Medical Center Woodbury, Inc., Inspira HomeCare & HospiceCare,
Inc., Inspira Health Network LIFE, Inc., Inspira Health Network Medical Group, P.C.,
Inspira Health Network Urgent Care, P.C., Cooper Bone & Joint at Woodbury, P.C., Oak &
Main Surgicenter, LLC, Inspira Health Network Foundation Cumberland/Salem, Inc., Inspira
Health Network Foundation Gloucester County, Inc., The Kidney Center at Vineland,
LLC, The Kidney Center at Millville, LLC, Inspira Help Services, Inc., Inspira Health
Partners, LLC, Red Bank Development Corporation, Inspira Health Management
Corporation, Juno Assurance, Ltd., Inspira Management Services, LLC, Inspira Health

                                                 8
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 14
                                                                   Desc
                                                                     of 59Main
                        Document     Page 13 of 58



Connections, P.C., Tri-County Cardiovascular Services, P.C., Gloucester County Surgery
Center, LLC, Woodbury Medical Center Associates, LLP, Inspira Home Care Services
Woodbury, Inc., Advanced MRI II, LLC, Inspira Care Connect, LLC, The Healthy
Cumberland Initiative, Inc., and The Healthy Gloucester Initiative, Inc.

       1.82 Inspira Policies. The Ironshore Inspira Policies, the Juno Inspira Policies, and
the Lexington Inspira Policies.

       1.83 Inspira Settlement Agreement. The Settlement and Release Agreement dated as
of December 3, 2014 by and among the Chapter 11 Trustee, Inspira, Lexington Insurance, and
Ironshore Specialty Insurance.

        1.84 Inspira Settlement Payment. Cash in the amount of $16,000,000 paid to the
Estate pursuant to the Inspira Settlement Agreement.

       1.85 Interim Bar Date Order. In the Chapter 11 Case, the Interim Order Regarding
Chapter 11 Trustee’s Motion for an Order Establishing Bar Dates for Filing Proofs of Claim
and for related Relief Concerning Noticing by Notice Intermediaries, dated July 29, 2013
[Chapter 11 Case Docket No. 412].

        1.86 Ironshore. Ironshore Specialty Insurance Company solely in its capacity as
issuer of, or in any other capacity that may arise from or be connected with, the High Point
Policy and as an insurer to High Point (and any other person(s) or entity(ies) that may be
insured under the High Point Policy) and all of its directors, officers, members,
shareholders, owners, principals, employees, attorneys, affiliates, predecessors, parents,
subsidiaries, successors and assigns, each acting solely in their respective capacities as such.

       1.87 Ironshore Inspira Policies. (i) The Insurance Policy issued by Ironshore
Specialty Insurance to Inspira for the policy period of 11/1/2011 to 11/1/2012 (No. 000791702),
and (ii) any other known or unknown insurance policies issued by Ironshore Specialty
Insurance to Inspira prior to December 3, 2014.

         1.88 Ironshore Specialty Insurance. Ironshore Specialty Insurance Company solely
in its capacity as issuer of, or in any other capacity that may arise from or be connected with, the
Ironshore Ironshore Policy and as an insurer to Inspira (and any other person(s) or entity(ies) that
may be insured under the Inspira Ironshore Policy) and all of its directors, officers,
members, shareholders, owners, principals, employees, attorneys, affiliates, predecessors,
parents, subsidiaries, successors and assigns, each acting in their respective capacity as
such. For purposes of this Agreement, the affiliates of Ironshore Specialty Insurance are the
following: Ironshore Insurance Services, LLC, Ironshore Holdings, (US), Inc., Ironshore
Specialty Insurance Company, IronHealth, and Ironshore Indemnity.

        1.89 Juno Assurance. Juno Assurance, Ltd., solely in its capacity as issuer of the Juno
Policy, and all of its directors, officers, members, shareholders, owners, principals,
employees, attorneys, predecessors, parents, subsidiaries, successors and assigns, each acting in
their respective capacity as such.



                                                 9
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 15
                                                                   Desc
                                                                     of 59Main
                        Document     Page 14 of 58



        1.90 Juno Inspira Policies. (i) The Healthcare Professional Liability and Healthcare
General Liability Insurance Policy issued by Juno Assurance to Inspira for the policy period of
11/1/2011 to 11/1/2012 (No. 2011HPLGL02), and (ii) any other known or unknown insurance
policies issued by Juno Assurance to Inspira prior to December 3, 2014.

        1.91 Liberty Mutual. Liberty Mutual Insurance, solely in its capacity as successor-in-
interest to Netherlands Insurance and Peerless Insurance

        1.92 Lexington Insurance. Lexington Insurance Company, solely in its capacity
as issuer of , or in any other capacity that may arise from or be connected with, the Lexington
Policy, and as an insurer to Inspira (and any other additional insured under the
Lexington Inspira Policy) and all of Lexington Insurance Company’s directors, officers,
members, shareholders, owners, principals, employees, attorneys, affiliates, predecessors,
parents, subsidiaries, successors and assigns, each acting in their respective capacity as
such. For purposes of this Plan, the affiliate of Lexington Insurance is the following: American
International Group, Inc. and its direct and indirect subsidiaries.

       1.93 Lexington Inspira Policy. (i) The Excess Healthcare Professional Liability
and Healthcare Umbrella Liability Insurance Policy issued by Lexington Insurance to Inspira for
the policy period of 11/1/2011 to 11/1/2012 (No. 6796471), and (ii) any other known or
unknown insurance policies issued by Lexington Insurance to Inspira prior to the December 3,
2014.

        1.94 Local Rules. The Local Rules of Bankruptcy Practice and Procedure of the
United States Bankruptcy Court for the District of Massachusetts, or, in the singular, a specific
Local Rule of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the
District of Massachusetts.

     1.95 Maxum. Maxum Indemnity Company, solely in its capacity as issuer of the
Maxum Policies.

       1.96 Maxum Policies. The Commercial Excess Liability Policies Maxum issued to
NECC, as named insured, under policy number EXC 6013127-01 for the period of June 25, 2010
to January 1, 2012, and the Commercial Excess Liability Policy Maxum issued to NECC, as
named insured, under policy number EXC 6013127-02 for the period of January 1, 2012 to
January 1, 2013.

      1.97 MDL Court. The United States District Court, District of Massachusetts, where
the MDL Proceeding is pending.

       1.98 MDL Proceeding. The multidistrict litigation in the MDL Court entitled In re
New England Compounding Pharmacy, Inc., Products Liability Litigation, designated as Case
No. 1:13-md-2419-RWZ, formed pursuant to the Order of February 12, 2013, by the Judicial
Panel on Multidistrict Litigation, pending in the MDL Court.

       1.99   Miscellaneous Secured Claims.         Any claims against the Debtor secured by
Collateral.


                                               10
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 16
                                                                   Desc
                                                                     of 59Main
                        Document     Page 15 of 58



       1.100 Medicaid. Any medical assistance program jointly financed by the federal and
state governments, codified at 42 U.S.C. § 1396, et seq., and the regulations promulgated
thereunder at 42 C.F.R. § 435.2 et seq.

       1.101 Medicare Act. The Medicare Secondary Payer Act, codified at 42 U.S.C. §
1395y, and the regulations promulgated thereunder, codified at 42 C.F.R. § 411.1 et seq.

       1.102 MPA. Methylprednisolone acetate.

       1.103 National Contributing Parties. The Entities listed at Schedule 1.103 hereto.

       1.104 National Settlement Administrator(s). The person(s) appointed in and by the
Claims Resolution Facility Procedures to facilitate, effectuate and implement the purpose and
provisions of the Claims Resolution Facility.

       1.105 National Settlement Agreements. Any settlement agreement entered into
between the Chapter 11 Trustee and one or more National Contributing Parties on or before the
date on which the Plan Supplement is filed, including, without limitation the Ameridose
Settlement Agreement, GDC Settlement Agreement, and the PMIC/Maxum Settlement
Agreement; provided, however, that National Settlement Agreements shall not include the
Shareholder Settlement Agreement.

       1.106 National Settlement Payments. Any payment funded or to be paid to the Estate
by a National Contributing Party pursuant to a National Settlement Agreement, including,
without limitation, the Ameridose Settlement Payment, the GDC Settlement Payment, the
PMIC/Maxum Settlement Payment and the Victory Settlement Payment; provided, however, that
National Settlement Payments shall not include the Shareholder Settlement Monies.

     1.107 NECC. Debtor New England Compounding Pharmacy, Inc. a/k/a New England
Compounding Company.

      1.108 NECC Claims. The term NECC Claims shall have the meaning set forth in the
Shareholder Settlement Agreement

      1.109 NECC Parties. The term NECC Parties shall have the meaning set forth in the
Shareholder Settlement Agreement.

       1.110 NECC Policies. The Maxum Policies and the PMIC NECC Policies.

        1.111 Netherlands Insurance. The Netherlands Insurance Company, solely in its
capacity as an issuer of the Netherlands Victory Insurance Policy, and all of its directors,
officers, members, shareholders, owners, principals, employees, attorneys, predecessors,
successors and assigns, each acting in their respective capacity as such, and Liberty Mutual.

        1.112 Netherlands Victory Policies. (i) The Commercial General Liability Insurance
Policy issued by Netherlands Insurance to Victory for the policy period of 7/2/12 – 7/2/13 (No.
CBP8690539), and (ii) any other known or unknown insurance policies issued by Netherlands
Insurance to Victory prior to November 11, 2014.

                                              11
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 17
                                                                   Desc
                                                                     of 59Main
                        Document     Page 16 of 58



       1.113 Non-Tort Claims. Administrative Expense Claims, Priority Tax Claims, Priority
Non-Tax Claims, Miscellaneous Secured Claims, General Unsecured Claims and Subordinated
Claims.

        1.114 Objection Deadline. The date set forth in the order of the Bankruptcy Court by
which a holder of a Claim or a holder of an Equity Interest or other party in interest may file an
objection to confirmation of this Plan.

        1.115 Official Committee. The Official Committee of Unsecured Creditors appointed
by the U.S. Trustee in the Chapter 11 Case pursuant to section 1102 of the Bankruptcy Code,
including the members thereof and each of their respective attorney representatives, each in his
or her capacity as such.

       1.116 Other Contributing Parties. The National Contributing Parties, the Provider
Contributing Parties, and any and all Persons or Entities released under the National Settlement
Agreements and the Provider Settlement Agreements, including but not limited to, the
Ameridose Parties, the GDC Released Parties, and the PMIC/Maxum Released Parties.

       1.117 Patient Lists. The lists required to be provided to the Chapter 11 Trustee, counsel
to the Official Committee, and lead counsel to the Plaintiffs’ Steering Committee pursuant to
paragraph 2 of the Interim Bar Date Order.

        1.118 Peerless Insurance. Peerless Insurance Company, solely in its capacity as issuer
of the Peerless Victory Insurance Policy, and all of its directors, officers, members, shareholders,
owners, principals, employees, attorneys, predecessors, successors and assigns, each acting in
their respective capacity as such, and Liberty Mutual

       1.119 Peerless Victory Policies. (i) The Commercial Umbrella Liability Insurance
Policy issued by Peerless Insurance to Victory for the policy period of 7/2/12 – 7/2/13 (No.
CU8691139), and (ii) any other known or unknown insurance policies issued by Peerless
Insurance to Victory prior to November 11, 2014.

        1.120 Person. Person has the meaning set forth in section 101(41) of the Bankruptcy
Code.

        1.121 Petition Date. December 21, 2012.

       1.122 PITWD Addendum. The confidential Personal Injury or Wrongful Death Claim
Information Form required by the Bankruptcy Court pursuant to the Bar Date Order to be
submitted by all creditors asserting a personal injury tort or wrongful death claim arising from
exposure to NECC products.

       1.123 Plaintiffs’ Steering Committee. The committee of plaintiffs’ counsel appointed
pursuant to order of the MDL Court entered on April 9, 2013, as may be amended by the MDL
Court.

       1.124 Plan. This Joint Chapter 11 Plan of New England Compounding Pharmacy, Inc.,
as may be amended or modified from time to time.

                                                12
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 18
                                                                   Desc
                                                                     of 59Main
                        Document     Page 17 of 58



       1.125 Plan Proponents. The Chapter 11 Trustee and the Official Committee.

        1.126 Plan Supplement. The supplemental appendix to this Plan, to be filed no later
than ten (10) days prior to the Disclosure Statement Hearing, which will contain, among other
things, draft documents, forms of documents, term sheets or other instruments or signed copies,
as the case may be, of the Plan Supplement Documents.

       1.127 Plan Supplement Documents. The documents, forms of documents, term sheets
and instruments (including any amendments, supplements or modifications thereto) included in
the Plan Supplement and which may be executed, delivered and/or performed in connection with
the consummation of this Plan, including, without limitation, the Tort Trust Agreement, the
Shareholder Escrow and Control Agreement, the Claims Resolution Facility Procedures, the
Provider Claims Resolution Facility Procedures, if any, and the Settlement Agreements.

        1.128 Policies. The Ameridose Policies, the GDC Policies, the High Point Policy, the
Inspira Policies, the NECC Policies, and the Victory Policies.

       1.129 Post-Effective Date Debtor. The Debtor, from and after the Effective Date.

       1.130 Post-Confirmation Officer. Paul D. Moore in his capacity as sole post-
confirmation officer of the Debtor or the Post-Effective Date Debtor, as applicable.

      1.131 PMIC. Pharmacists Mutual Insurance Company, solely in its capacity as issuer of
the PMIC NECC Policies or the Ameridose Policies, as applicable.

       1.132 PMIC/Maxum Released Parties. All Persons or Entities released from Claims
under the PMIC/Maxum Settlement Agreement.

       1.133 PMIC/Maxum Settlement Agreement. The Plan Support and Settlement
Agreement dated as of May 2, 2014, by and among the Chapter 11 Trustee, PMIC, Maxum and
the Individual NECC Insureds [Chapter 11 Case Docket No. 714-2], as approved by the
Bankruptcy Court at Chapter 11 Case Docket No. 971.

        1.134 PMIC/Maxum Settlement Payment. Cash in the amount of $25,200,000 paid to
the Estate pursuant to the PMIC/Maxum Settlement Agreement.

       1.135 PMIC NECC Policies. The Special Businessowners Policy PMIC issued to
NECC, as named insured, under policy number BOP 0068490 07, the Commercial
Umbrella/Excess Liability Policy PMIC issued to NECC as named insured under policy number
UCL 0068490 07, both with a policy period of January 1, 2011 to January 1, 2012, the Special
Businessowners Policy PMIC issued to NECC as named insured under policy number BOP
0068490 08, the Commercial Umbrella/Excess Liability Policy PMIC issued to NECC as named
insured under policy number UCL 0068490 08, both with a policy period of January 1, 2012 to
January 1, 2013 and the Individual Pharmacist Professional Liability Policies PMIC issued to
Barry J. Cadden (Policy No. PHL 0072481), Lisa M. Conigliaro Cadden (Policy No. PHL
0072480), Glenn Chin (Policy No. PHL 0072483), C. Leary (Policy No. PHL 0122124), G.
Svirskiy (Policy No. PHL 0096033), J. Keough (Policy No. PHL 0105223) and K. Chin (Policy
No. PHL 0096806) as named insureds.

                                              13
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 19
                                                                   Desc
                                                                     of 59Main
                        Document     Page 18 of 58



        1.136 Preferred Mutual. Preferred Mutual Insurance Company, solely in its capacity as
issuer of the GDC Policies, and any of its directors, officers, members, shareholders, owners,
principals, employees, attorneys, predecessors, successors and assigns, each acting solely in its
respective capacity as such.

         1.137 Priority Non-Tax Claim. Any Claim, other than an Administrative Expense
Claim or a Priority Tax Claim, entitled to priority in payment as specified in section 507(a)(3),
(4), (5), (6), (7) or (9) of the Bankruptcy Code.

        1.138 Priority Tax Claim. Any Claim of a governmental unit of the kind entitled to
priority in payment as specified in sections 502(i) and 507(a)(8) of the Bankruptcy Code.

       1.139 Priority Claims. Priority Non-Tax Claims and Priority Tax Claims.

        1.140 Pro Rata Share. A proportionate share, so that the ratio of the consideration
distributed on account of an Allowed Claim in a Class to the amount of such Allowed Claim is
the same as the ratio of the consideration distributed on account of all Allowed Claims in such
Class to the amount of all Allowed Claims in such Class.

       1.141 Protocol Order. The Agreed-Upon Order Establishing Protocol for Settlement
Negotiations and Communication [Adversary Proceeding Docket No. 96] entered in the
Adversary Proceeding.

         1.142 Provider Claims Resolution Facility(s). The claims resolution facility or
facilities, if any, established by the Provider Claims Resolution Facility Procedures.

       1.143 Provider Claims Resolution Facility Procedures.               The Provider Claims
Resolution Facility Procedures substantially in the form(s) included in the Plan Supplement.

       1.144 Provider Contributing Parties. The Entities listed on Schedule 1.144 hereto.

       1.145 Provider Settlement Administrator(s). The person(s) to be appointed in and by
the Provider Claims Resolution Facility Procedures to facilitate, effectuate and implement the
purpose and provisions of the Provider Claims Resolution Facility(s).

       1.146 Provider Settlement Agreements. The settlement agreement(s) entered into
between the Chapter 11 Trustee and one or more Provider Contributing Parties on or before the
date on which the Plan Supplement is filed, including, but not limited to, the High Point
Settlement Agreement and the Inspira Settlement Agreement.

       1.147 Provider Settlement Payments. Any payment made or to be made to the Estate
by a Provider Contributing Party pursuant to a Provider Settlement Agreement.

       1.148 Resident Tort Trustee. The Delaware resident trustee appointed by the Chapter
11 Trustee pursuant to the Tort Trust Agreement, including any successor.

        1.149 Schedules. The schedules of assets and liabilities and the statements of financial
affairs filed by the Debtor under section 521 of the Bankruptcy Code, Bankruptcy Rule 1007,

                                               14
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 20
                                                                   Desc
                                                                     of 59Main
                        Document     Page 19 of 58



and the Official Bankruptcy Forms of the Bankruptcy Rules as such schedules and statements
have been or may be supplemented or amended through the Confirmation Date.

       1.150 Settlement Administrators. The National Settlement Administrator(s) and the
Provider Settlement Administrator(s).

       1.151 Settlement Agreements. The National Settlement Agreements, the Provider
Settlement Agreements, and the Shareholder Settlement Agreement.

        1.152 Settling National Insurers. PMIC, Maxum and Preferred Mutual, collectively,
solely in their capacities as insurers of NECC, the Individual Insureds, or GDC, as applicable.

       1.153 Shareholder and Affiliate Released Parties. The Contributor and Affiliate
Released Parties, as that term is defined in the Shareholder Settlement Agreement.

      1.154 Shareholder Escrow Accounts.           The escrow accounts established in the
Shareholder Escrow and Control Agreement.

       1.155 Shareholder Escrow Agent. Citizens Bank, N.A., as escrow agent appointed
pursuant to the Shareholder Escrow Agreement.

       1.156 Shareholder Escrow and Control Agreement. The Escrow and Control
Agreement dated as of August 20, 2014, by and among the Chapter 11 Trustee, the Shareholders
and the Shareholder Escrow Agent, substantially in the form included in the Plan Supplement.

       1.157 Shareholder Settlement Agreement. The Plan Support and Funding Agreement
dated as of May 2, 2014 by and among the Chapter 11 Trustee, on the one hand, and the
Shareholders on the other hand (Chapter 11 Case Docket No. 712-2), as approved by the
Bankruptcy Court at Chapter 11 Case Docket No. 972.

       1.158 Shareholder Settlement Monies. The monies from time to time in the
Shareholder Escrow Accounts, including, but not limited to, the Tax Contributions (as defined in
the Shareholder Settlement Agreement).

        1.159 Shareholder Settlement Non-QSF Accounts. The Shareholder Escrow Accounts
other than the Shareholder Settlement QSF Account, if any.

         1.160 Shareholder Settlement Non-QSF Monies. The Shareholder Settlement Monies,
if any, from time to time in the Shareholder Settlement Non-QSF Accounts.

        1.161 Shareholder Settlement QSF Account. The qualified settlement fund, if any,
established pursuant to the Shareholder Escrow and Control Agreement, which may pay any
expenses permitted to be paid by a qualified settlement fund under applicable law.

        1.162 Shareholder Settlement QSF Monies. The Shareholder Settlement Monies from
time to time in the Shareholder Settlement QSF Account.



                                              15
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 21
                                                                   Desc
                                                                     of 59Main
                        Document     Page 20 of 58



       1.163 Shareholders. Barry Cadden, Lisa Conigliaro Cadden, Gregory Conigliaro and
Carla Conigliaro.

      1.164 Special Master. The person appointed pursuant to the Claims Resolution Facility
Procedures to provide for an appeal process in and for the Claims Resolution Facility.

       1.165 Subordinated Claims. All general unsecured claims, whenever arising, (i) for
reimbursement, contribution or indemnity of an Entity that is liable with the Debtor on, or that
has secured, the Claim of a Tort Claimant, or (ii) which are subordinated to other general
unsecured claims by agreement or by applicable law

       1.166 Supplemental Bar Date. May 5, 2014.

       1.167 Supplemental Bar Date Notice. The Notice of Supplemental Deadline for Filing
Claims in the Chapter 11 Case, dated March 5, 2014.

       1.168 Supplemental Bar Date Order. The endorsed order dated February 24, 2014
[Chapter 11 Case Docket No. 699] establishing the Supplemental Bar Date.

       1.169 Tax Code. Title 26 of the United States Code, as amended from time to time.

       1.170 Tennessee Settlement Agreement. The Proposed Settlement Agreement and
Order dated as of May 12, 2014 among the Chapter 11 Trustee and Barry J. Cadden on one
hand, and the Tennessee Board of Pharmacy, on the other hand [Chapter 11 Case Docket No.
729-2], as approved by the Bankruptcy Court at Chapter 11 Case Docket No. 973.

        1.171 Tort Claims. Any and all Claims, causes of action, civil actions and demands for
or based on personal injury or wrongful death relating to the compounding, preparation, design,
marketing, sale, distribution, fabrication, advertising, supply, production, formulation, use,
administration, labeling or ingestion of any product produced, sold or distributed by the Debtor,
including, but not limited to, the Drugs (notwithstanding the identity of any subsequent marketer,
distributor, retailer, wholesaler, other seller or administrator of such product), including, but not
limited to, those civil actions pending in the MDL Proceeding or in any state court; provided,
however, that Tort Claims shall not include Estate Causes of Action as against the Shareholders
and Affiliate Released Parties, including, without limitation, the Estate Claims asserted against
the Shareholders and Affiliate Released Parties in the Adversary Proceeding.

       1.172 Tort Claimants. The holders of Allowed Tort Claims, or, in the singular, one
such holder.

       1.173 Tort Trust. The trust established pursuant to Section 5.03 of this Plan.

        1.174 Tort Trustee. The trustee of the Tort Trust appointed by the Official Committee
and the Plaintiffs’ Steering Committee pursuant to the Tort Trust Agreement in accordance with
this Plan, to be identified in the Plan Supplement, or any successor.

      1.175 Tort Trust Advisory Board. A three (3) member committee comprised of
Kimberly Dougherty, Fredric L. Ellis and Harry M. Roth.

                                                 16
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 22
                                                                   Desc
                                                                     of 59Main
                        Document     Page 21 of 58



        1.176 Tort Trust Agreement. The Tort Trust Agreement to be entered into by the Estate
Representative, the Tort Trustee and the Resident Tort Trustee, executed in connection with this
Plan, to be included in the Plan Supplement.

          1.177 Tort Trust Assets. The Initial Tort Trust Assets and the Additional Tort Trust
Assets.

        1.178 Tort Trust Beneficiaries. Holders of Allowed Tort Claims, including Entities
that are subrogated to the rights of such a Holder of an Allowed Tort Claim pursuant to section
4.01(iv) hereof.

          1.179 Tort Trust Certificate. The Certificate of Trust forming the Tort Trust.

       1.180 Tort Trust Documents. The Tort Trust Agreement, the Tort Trust Certificate, the
Claims Resolution Facility Procedures, and the Provider Claims Resolution Facility Procedures.

        1.181 Treasury Regulations.    Regulations (including temporary and proposed)
promulgated under the Tax Code by the United States Treasury Department, as amended from
time to time.

       1.182 Unimpaired. Any Class that is unimpaired within the meaning of section 1124 of
the Bankruptcy Code.

          1.183 U.S. Trustee. The Office of the United States Trustee for Region 1.

       1.184 Victory. Victory Mechanical Services, Inc., Victory Heating & Air Conditioning
Co., Inc., Victory LLC, Victory Heating and Air Conditioning Business Trust, Victory
Mechanical Services Business Trust, and all of their respective directors, officers, members,
shareholders, owners, principals, employees, attorneys, predecessors, successors and assigns,
each acting in their respective capacity as such.

       1.185 Victory Policies. The Netherlands Victory Policies and the Peerless Victory
Insurance Policies.

       1.186 Victory Settlement Agreement. That certain Settlement and Release Agreement
by and among the Chapter 11 Trustee, Victory, Netherlands Insurance, and Peerless Insurance,
dated as of November 11, 2014.

        1.187 Victory Settlement Payment. Cash in the amount of $5,500,000.00, to be paid to
the Estate pursuant to the Victory Settlement Agreement, plus any additional amounts to be paid
to the Estate pursuant to the Victory Settlement Agreement.

          B.     Interpretation; Application of Definitions and Rules of Construction.

       1.188 Rules of Interpretation. The words “herein,” “hereof,” “hereto,” “hereunder” and
other words of similar import refer to this Plan as a whole and not to any particular section,
subsection, or clause contained therein. Wherever from the context it appears appropriate, each
term stated in either the singular or the plural shall include the singular and the plural and

                                                 17
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 23
                                                                   Desc
                                                                     of 59Main
                        Document     Page 22 of 58



pronouns stated in the masculine, feminine or neuter gender shall include the masculine, the
feminine and the neuter. A term used herein that is not defined herein shall have the meaning
assigned to that term in the Bankruptcy Code. The rules of construction contained in section 102
of the Bankruptcy Code shall apply to this Plan. The headings in this Plan are for convenience
of reference only and shall not limit or otherwise affect the provisions hereof.

        1.189 Computation of Time. In computing any period of time prescribed or allowed by
this Plan, the provisions of the Bankruptcy Rule 9006(a) shall apply.

       1.190 Governing Law. Except to the extent that the Bankruptcy Code or Bankruptcy
Rules are applicable, and subject to the provisions of any contract, agreement or other document
entered into in connection with this Plan, the rights and obligations arising under this Plan shall
be governed by, and construed and enforced in accordance with, the laws of the Commonwealth
of Massachusetts, without giving effect to the principles of conflicts of law thereof.


                             ARTICLE II.
        ADMINISTRATIVE EXPENSE CLAIMS AND PRIORITY TAX CLAIMS

       In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Expense
Claims and Priority Tax Claims, as described below, have not been classified.

        2.01 Administrative Expense Claims. Except to the extent that a holder of an Allowed
Administrative Expense Claim agrees to a different treatment or as otherwise provided herein, on
the later of the Effective Date and the date such Administrative Expense Claim becomes an
Allowed Administrative Expense Claim, or as soon thereafter as is reasonably practicable, the
Chapter 11 Trustee or the Post-Confirmation Officer (as may be applicable from time to time)
shall pay to each holder of an Allowed Administrative Expense Claim, in full satisfaction of such
Claim, an amount in Cash equal to the Allowed amount of such Claim. Notwithstanding the
foregoing, Administrative Expense Claims that represent liabilities incurred by the Chapter 11
Trustee in the ordinary course of the Debtor’s business during the Chapter 11 Case shall be paid
in the ordinary course of business and in accordance with any terms and conditions of any
agreements relating thereto.

       2.02    Deadlines to Assert Administrative Expense Claims.

               (i)    Pre-Confirmation Date Administrative Expense Claims. Except for
applications by professionals under section 330 of the Bankruptcy Code and fees payable
pursuant to 28 U.S.C. § 1930, all requests for payment of Administrative Expense Claims for
which an earlier deadline has not been previously set or imposed by Local Rule 3002-1 shall be
filed and served on each of the Plan Proponents no later than thirty (30) days after entry of the
Confirmation Order.

               (ii)   Professional Fees. All applications by professionals retained pursuant to
sections 327, 328 and 1103 of the Bankruptcy Code for allowance and payment of fees and
reimbursement of expenses pursuant to section 330 of the Bankruptcy Code for final
compensation for services rendered and reimbursement of expenses incurred in connection with
this Chapter 11 Case shall be filed no later than sixty (60) days after the Effective Date. Such fee
                                                18
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 24
                                                                   Desc
                                                                     of 59Main
                        Document     Page 23 of 58



applications shall seek approval of all fees and expenses incurred or to be incurred by such
professionals on or before the Effective Date and may include an estimate of fees and costs
incurred after the Effective Date, including fees and expenses incurred in preparation and
resolution of the fee application. Notwithstanding anything to the contrary contained in this
Plan, the Settlement Agreements or the Confirmation Order, the Chapter 11 Trustee’s and the
Official Committee’s post-petition professionals shall have the right to appear and be heard on
all matters related to applications for final compensation of professional persons for services
rendered and reimbursement of expenses incurred on or before the Effective Date.

              (iii) Statutory Fees. All fees payable pursuant to 28 U.S.C. § 1930 shall be
paid in accordance with Section 12.07 of this Plan without the need to file any request for
payment.

               (iv)    Effect of Failure to Timely File Claim or Request for Payment. Any
holders of Administrative Expense Claims who are required to file an application or request for
payment of such Claims and who do not file such application or request by the applicable
deadline shall be forever barred from asserting such Administrative Expense Claim against the
Debtor or the Estate, or receiving any distribution on account of such Claim under this Plan.

        2.03 Priority Tax Claims. Except to the extent that a holder of an Allowed Priority
Tax Claim agrees to a different treatment, on the later of the Effective Date and the date such
Priority Tax Claim becomes an Allowed Priority Tax Claim, or as soon thereafter as is
reasonably practicable, the Post-Confirmation Officer shall pay to each holder of an Allowed
Priority Tax Claim, in full satisfaction of such Claim, an amount in Cash equal to the Allowed
amount of such Claim.

                               ARTICLE III.
              CLASSIFICATION OF CLAIMS AND EQUITY INTERESTS

        3.01 Classification of Claims and Equity Interests. The classification of the Claims
and Equity Interests listed below shall be for all purposes, including voting, confirmation and
distribution pursuant to this Plan.

Class       Description                      Status         Entitled to Vote

Class A     Priority Non-Tax Claims          Unimpaired     Deemed to have accepted this Plan

Class B     Miscellaneous Secured Claims     Unimpaired     Deemed to have accepted this Plan

Class C     General Unsecured Claims         Impaired       Entitled to Vote

Class D     Tort Claims                      Impaired       Entitled to Vote

Class E     Subordinated Claims              Impaired       Entitled to Vote

Class F     Equity Interests                 Unimpaired     Deemed to have accepted this Plan



                                              19
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 25
                                                                   Desc
                                                                     of 59Main
                        Document     Page 24 of 58



                                ARTICLE IV.
                  TREATMENT OF CLAIMS AND EQUITY INTERESTS

        4.01 Class A - Priority Non-Tax Claims. Allowed Priority Non-Tax Claims in Class
A are Unimpaired. Except to the extent that a holder of an Allowed Priority Non-Tax Claim
agrees to a different treatment of such Claim, on the later of the Effective Date and the date such
Priority Non-Tax Claim becomes an Allowed Priority Non-Tax Claim, or as soon thereafter as is
reasonably practicable, each holder of an Allowed Priority Claim shall receive, in complete
settlement, satisfaction and discharge of its Class A Claim, an amount in Cash equal to the
Allowed amount of such Priority Non-Tax Claim.

        4.02 Class B - Miscellaneous Secured Claims. Allowed Miscellaneous Secured
Claims in Class B are Unimpaired. Except to the extent that a holder of an Allowed
Miscellaneous Secured Claim agrees to a different treatment of such Claim, on the later of the
Effective Date and the date such Miscellaneous Secured Claim becomes an Allowed
Miscellaneous Secured Claim, or as soon thereafter as is reasonably practicable, each holder of
an Allowed Miscellaneous Secured Claim shall receive, in complete settlement, satisfaction and
discharge of its Class B Claim, at the Estate Representative’s election, (i) payment in full in Cash
of such holder’s Allowed Miscellaneous Secured Claim, (ii) the Debtor’s interest in the
Collateral securing such holder’s Allowed Miscellaneous Secured Claim or (iii) such other
treatment rendering such holder’s Allowed Miscellaneous Secured Claim Unimpaired.

        4.03 Class C - General Unsecured Claims. Allowed General Unsecured Claims in
Class C are Impaired. On the later of the Effective Date and the date such General Unsecured
Claim becomes an Allowed General Unsecured Claim, or as soon thereafter as is reasonably
practicable, each holder of an Allowed General Unsecured Claim shall receive, in complete
settlement, satisfaction and discharge of its Class C Claim, its Pro Rata Share of the Class C
Cash.

       4.04    Class D - Tort Claims.

                (i)    Tort Claims in Class D are Impaired. Each Tort Claimant shall be
enjoined from pursuing any Claim against the Debtor, the Estate, the Chapter 11 Trustee and/or
the Contributing Parties as set forth in Section 10.06 below, and Allowed Tort Claims shall be
channeled to the Tort Trust, and each Tort Claimant shall receive, in complete settlement,
satisfaction and discharge of his or her Allowed Tort Claim, a share of the beneficial interests in
the Tort Trust.

               (ii)    Except as otherwise provided herein, each Tort Claimant remains entitled
to any recovery from third parties or liability insurance proceeds, to the extent any such third
parties are not released by or protected under the injunction pursuant to this Plan, that may be
liable on or otherwise available to satisfy such Tort Claims in whole or in part; provided,
however, that notwithstanding anything herein or in the Tort Trust Documents to the contrary, to
the extent that (a) a Tort Claimant realizes a recovery from any third party, other than in
accordance with this Plan and pursuant to the Tort Trust Agreement, on account of the Tort
Claimant’s Tort Claim, and (b) such third party has filed a timely proof of claim against the
Estate for contribution or indemnity based in whole or in part on its actual or potential liability

                                                20
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 26
                                                                   Desc
                                                                     of 59Main
                        Document     Page 25 of 58



obligations to such Tort Claimant, (x) such third party’s payment to such Tort Claimant shall be
presumed to be solely on account of that third party’s own liability to such Tort Claimant, and
shall not be deemed to be a payment of the Tort Claim in full within the meaning of section
509(c) of the Bankruptcy Code until so agreed by the Tort Trustee or otherwise so determined by
the Bankruptcy Court, and (y) any distribution from the Tort Trust to which such Tort Claimant
would otherwise be entitled shall be reserved until such time as the third party’s claim is
resolved.

               (iii) An Entity that is liable with the Debtor on, or that has secured, an Allowed
Tort Claim, and that pays such Allowed Tort Claim in full, shall, to the extent provided by
Section 509 of the Bankruptcy Code, be subrogated to the rights of the holder of such Allowed
Tort Claim under and for purposes of this Plan, and such subrogated Claim shall be treated as a
Class D Claim in accordance with this Plan, and to the extent that the Entity’s payment of the
Allowed Tort Claim is not a payment in full, such Entity shall be treated in accordance with
Section 509 of the Bankruptcy Code, including, but not limited to, subordination of such Entity’s
Claim(s) in accordance therewith.

             (iv)  Holders of Class D Claims may be required to submit additional
documentation regarding their Claim as provided by the Claims Resolution Facility
Procedures and, if applicable, the Provider Claims Resolution Facility Procedures.
HOLDERS OF CLASS D CLAIMS SHALL BE SUBJECT TO RELEASES AND
INJUNCTIONS PRECLUDING PURSUIT OF ANY CLAIM AGAINST CERTAIN
PARTIES IN ACCORDANCE WITH SECTIONS 10.05 AND 10.06 HEREOF.

       4.05 Class E - Subordinated Claims. Claims in Class E are Impaired. Subordinated
Claims in Class E shall be, and hereby are, automatically subordinated by confirmation of this
Plan for purposes of distribution under this Plan to other general unsecured claims, specifically,
Class D Claims and Class C Claims, without the need for further order or notice. Each holder of
an Allowed Class E Claim shall be deemed to have exchanged such Claim for a Pro Rata Share
of Class E Cash, if any, in full satisfaction of such Claim. It is not anticipated that holders of
Class E Claims will receive any distributions under this Plan. EXCEPT AS PROVIDED
PURSUANT TO SEPARATE ORDER OR AGREEMENT, CERTAIN HOLDERS OF CLASS
E CLAIMS SHALL BE SUBJECT TO RELEASES AND INJUNCTIONS PRECLUDING
PURSUIT OF ANY CLAIM, INCLUDING CLASS E CLAIMS, AGAINST CERTAIN
PARTIES IN ACCORDANCE WITH SECTIONS 10.05 AND 10.06 HEREOF.

         4.06 Class F - Equity Interests. Equity Interests are Unimpaired. Equity Holders
shall (i) retain, albeit without any rights of control over the Debtor, the Post-Effective Date
Debtor, the Estate, or any of their officers or directors, including the Post-Confirmation Officer,
or any other rights generally afforded to Interests, their respective Interests in the Debtor to the
extent they are entitled to retain such interests under the Shareholder Settlement Agreement, but
(ii) shall receive no distributions under this Plan on account of the same.




                                                21
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 27
                                                                   Desc
                                                                     of 59Main
                        Document     Page 26 of 58



                                    ARTICLE V.
                             SETTLEMENT OF TORT CLAIMS
                              AND THE NECC TORT TRUST

        5.01 Settlement and Compromise. To the extent any Settlement Agreements have not
been previously approved by the Bankruptcy Court, the entry of the Confirmation Order shall
constitute approval of such Settlement Agreements by the Bankruptcy Court and the Bankruptcy
Court’s finding that, as required under the applicable provisions of the Bankruptcy Code and
Bankruptcy Rules, the Settlement Agreements are in the best interest of the Debtor, the Estate
and all holders of Claims in the Chapter 11 Case, are fair, equitable and reasonable, and have
been entered into in good faith by all parties thereto. Upon the occurrence of the conditions to
effectiveness set forth in each of the Settlement Agreements, the Settlement Agreements shall be
binding and enforceable against the parties to the Settlement Agreements in accordance with
their terms. To the extent not previously approved by the Bankruptcy Court, copies of the
Settlement Agreements (without signature pages) will be included in the Plan Supplement, and
the provisions thereof are incorporated into this Plan, as if the same were fully set forth herein.

       5.02    Exhaustion of Insurance Policies.

               (i) On the Effective Date, the NECC Policies shall be deemed completely
exhausted and any and all of PMIC’s and Maxum’s obligations under the NECC Policies shall
be, and are deemed to be, extinguished.

               (ii) On the Effective Date, the Ameridose Primary Policies shall be deemed
completely exhausted and any and all of PMIC’s obligations under the Ameridose Policies shall
be, and are deemed to be, extinguished.

       5.03 Execution of Tort Trust Agreement. On or before the Effective Date, the Estate
Representative, on behalf of the Debtor and on behalf of the Tort Trust Beneficiaries and holders
of Allowed Class E Claims, the Tort Trustee and the Resident Tort Trustee shall execute the Tort
Trust Agreement, and shall perform all other necessary steps to establish the Tort Trust.

        5.04 Purpose of Tort Trust. The Tort Trust shall be established for the sole purpose of
implementing this Plan on behalf of, and for the benefit of, Tort Trust Beneficiaries and holders
of Allowed Class E Claims, and to serve as a mechanism for liquidating, converting to Cash and
distributing the Tort Trust Assets for the benefit of Tort Trust Beneficiaries and holders of
Allowed Class E Claims, with no objective to continue or engage in the conduct of a trade or
business, except to the extent reasonably necessary to, and consistent with, the liquidating
purposes of the Tort Trust. The Tort Trust is organized and established as a trust pursuant to
which the Tort Trustee, subject to the terms and conditions contained in the Tort Trust
Agreement and in this Plan, is to hold the Tort Trust Assets and dispose of the same in
accordance with the Tort Trust Agreement and this Plan in accordance with Treasury Regulation
section 301.7701-4(d).

        5.05 Assets of the Tort Trust. The Tort Trust shall consist of (i) the Initial Tort Trust
Assets, which the Estate Representative shall deliver, transfer or cause to be delivered or
transferred, as applicable, to the Tort Trust, (ii) the Additional Tort Trust Assets, which,

                                                22
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 28
                                                                   Desc
                                                                     of 59Main
                        Document     Page 27 of 58



following the Confirmation Date and as soon after receipt as is reasonably practicable, the Estate
Representative shall deliver or cause to be delivered to the Tort Trust, and (iii) any additional
assets disbursed to the Tort Trust from the Shareholder Settlement QSF Account or the
Shareholder Settlement Non-QSF Accounts.

       5.06 Governance of the Tort Trust. The Tort Trust will be administered by the Tort
Trustee. Subsequent appointments of Tort Trustee(s) shall be made in accordance with the
provisions of the Tort Trust Agreement and this Plan. Decisions with respect to all matters shall
be made by the Tort Trustee, subject to the terms of the Tort Trust Agreement. The Tort Trust
Agreement shall govern the removal of any Tort Trustee and appointment of any successor Tort
Trustee. The Tort Trust Agreement specifies that the Tort Trustee shall be a resident of the
United States.

        5.07 Role of the Tort Trustee. In furtherance of, and consistent with the purpose of,
the Tort Trust and this Plan, the Tort Trustee shall, subject to the terms of this Plan and the Tort
Trust Agreement, (i) have the power and authority to hold, manage, sell and distribute the Tort
Trust Assets as set forth herein and in the Tort Trust Agreement, (ii) have the power and
authority to hold, manage, sell and distribute Cash or non-Cash Tort Trust Assets obtained
through the exercise of its power and authority, (iii) have the power and authority to investigate,
assert, prosecute and resolve, in the names of the Debtor and/or the name of the Tort Trust, the
Estate Causes of Action in its sole and absolute discretion and (iv) have the power and authority
to perform such other functions as are provided in this Plan or Tort Trust Agreement. The Tort
Trustee shall be responsible for all decisions and duties with respect to the Tort Trust and the
Tort Trust Assets, subject to the terms of this Plan and the Tort Trust Agreement. Subject to the
provisions of the Tort Trust Agreement, in all circumstances, the Tort Trustee shall act in
furtherance of the purpose of the Tort Trust, and shall use commercially reasonable efforts to
dispose of the Tort Trust Assets and to make timely distributions and not unduly prolong the
duration of the Tort Trust.

        5.08 Investments. Investments of all assets, including monies, held in the Tort Trust
shall be administered, subject to the limitations and provisions set forth in this Section 5.08, in
view of the manner in which individuals of ordinary prudence, discretion and judgment would
act in the management of their own affairs, and with the understanding that it is intended that
distributions from the Tort Trust to Tort Trust Beneficiaries, which will have the effect of
liquidating and terminating the Tort Trust, will commence immediately upon or soon after the
Effective Date of the Plan and will be completed soon thereafter. The Tort Trustee shall invest
and reinvest the principal and income of the Tort Trust and keep the funds of the Tort Trust
invested in interest-bearing accounts at an approved depository institution to be selected from the
United States Trustee’s List of Authorized Depositories for Bankruptcy Cases filed in Region
One, dated July 26, 2013. Each account shall be treated as a single fund without distinction
between principal and income. For purposes of this paragraph, “interest-bearing account” may
include a money fund whose objectives are current income consistent with liquidity and low risk,
the maintenance of a portfolio of high quality, short-term money market instruments, and
maintenance of a constant $1.00 net asset value per share, to the extent the Tort Trustee
determines that such fund is consistent with provisions for investment set forth in IRS Revenue
Procedure 94-45 or any successor guidance issued by the IRS. All investments shall be made so
as to at all times provide sufficient liquidity to meet the anticipated cash needs of the Tort Trust

                                                23
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 29
                                                                   Desc
                                                                     of 59Main
                        Document     Page 28 of 58



as set forth herein. In investing, reinvesting, exchanging, selling and managing the Tort Trust
accounts, the Tort Trustee shall discharge its duties with respect to said accounts solely in the
interest of the accomplishment of the purposes and objectives of the Tort Trust. Notwithstanding
the foregoing, the Tort Trustee shall make continuing efforts to make timely distributions and not
unduly prolong the duration of the Trust, consistent with the limitations set forth in IRS Revenue
Procedure 94-45 or any applicable successor authority.

       5.09    Fees, Costs and Expenses of the Tort Trust.

                 (i)    The Tort Trust shall pay all reasonable fees, costs and expenses of the Tort
Trust that are (a) incurred in connection with the administration of the Tort Trust, the protection,
preservation, liquidation and distribution of Tort Trust Assets, and the costs of investigating,
prosecuting, resolving and/or settling any Claims of Tort Trust Beneficiaries and holders of
Allowed Class E Claims (including but not limited to Disputed Claims or any Disputed
Ownership Fund under Section 5.12 of this Plan), any tax liability imposed on the Tort Trust
rather than on the Disputed Claims Reserve, Disputed Ownership Fund, or the Expense Fund, if
any, and any fees, costs and expense of any and all professionals retained by the Tort Trustee and
persons to be compensated from the Claims Resolution Facility and the Provider Claims
Resolution Facilities), (b) obligations or other liabilities incurred or assumed by the Tort Trust
(including but not limited to any Reserves established by the Tort Trust) (c) reasonably necessary
to meet contingent liabilities and to maintain the value of the Tort Trust Assets during
liquidation, and (d) reasonably necessary to satisfy any other obligations of the Tort Trust set
forth in this Plan, the Confirmation Order or the Tort Trust Documents.

               (ii)    The Tort Trustee shall be entitled to reasonable compensation in an
amount consistent with that of similar functionaries in similar types of proceedings, and shall be
reimbursed for his or her reasonable expenses, including travel expenses, reasonably required
and incurred in the performance of his or her duties, in each case subject to the terms and
provisions of this Plan and the Tort Trust Documents.

               (iii) Subject to the terms and provisions of this Plan and the Tort Trust
Documents, the Tort Trustee may retain and reasonably compensate counsel and other
professionals on such ordinary and customary and commercially reasonable terms as the Tort
Trust deems appropriate, without Bankruptcy Court approval.

               (iv)    The Tort Trustee may retain such law firms or attorneys, experts, advisors,
consultants, investigators, appraisers, auctioneers, corporate management services, or other
persons or professional firms as the Tort Trustee determines, in his or her sole discretion, are
necessary, desirable or appropriate to aid in the performance of his or her duties, without the
need for further order or notice. The Tort Trustee may pay or appropriate funds necessary to pay
the professionals for services rendered and expenses incurred after the Effective Date without
any need for filing fee applications under the Bankruptcy Code or approval of any court. The
Tort Trustee may retain any professional who represented the Official Committee or the Chapter
11 Trustee in the Chapter 11 Case.

       5.10 Distribution of the Tort Trust Assets. The Tort Trustee shall distribute the
proceeds of the Tort Trust Assets in accordance with this Plan, the Confirmation Order, the Tort

                                                24
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 30
                                                                   Desc
                                                                     of 59Main
                        Document     Page 29 of 58



Trust Documents and the Claims Resolution Facility Procedures. In connection with such
distributions, and except as provided below in this Section 5.10, the Tort Trust shall be
responsible for all reimbursement and reporting obligations imposed by the Medicare Act for the
repayment of any claim related conditional payments made under Medicare Part A, B, C and D
(“Conditional Payment”) or any state's Medicaid or Workers Compensation statute. Before
disbursing any Tort Trust Assets to any Tort Trust Beneficiary, the Tort Trustee may enter into a
global resolution with the Centers for Medicare and Medicaid Services (“CMS”) to reimburse all
Medicare Part A, B, C and D liens that are subject to repayment for Conditional Payments made
pursuant to 42 USC 1395y(b) and the accompanying Medicare Part C and Part D statutes and
Medicare reporting obligations pursuant to 42 USC 1395y(b)(8).

        Pursuant to 42 USC 1395y(b)(8), defined Responsible Reporting Entities (“RREs”) must
report claims to CMS in the manner and time specified by the statute. If a global resolution with
CMS cannot be reached, the Tort Trustee is authorized to enter into a separate agreement with
each RRE to report on their behalf and if a separate agreement with an RRE is not reached, the
Tort Trustee shall provide all of the information required for proper reporting under 42 USC
1395y(b)(8) to the appropriate RRE(s) or their authorized agent before disbursing any funds to
any Tort Trust Beneficiary. If a global resolution is not reached and the Tort Trustee does not
enter into an agency agreement with the appropriate RRE(s) before disbursing any funds to any
Tort Trust Beneficiary (i) the Tort Trustee will collect the Tort Trust Beneficiary’s first name,
last name, date of birth, gender, social security number and any other information required for
proper reporting of the claim to CMS pursuant to 42 USC 1395y(b)(8) and the Medicare
Mandatory Insurer Reporting User Guide; and (ii) the Tort Trustee will provide all of the
information required for reporting to the RREs within five (5) days of any Final Determination
(as that term is used in the Claims Resolution Facility Procedures) of any claim.

        In addition, if a global resolution with CMS cannot be reached, before disbursing any
funds to any Tort Trust Beneficiary, (i) the Tort Trustee shall determine, or retain an
appropriately qualified firm to determine whether any Conditional Payment has been made to or
on behalf of the Tort Trust Beneficiary to whom a distribution of Tort Trust Assets will be made,
and if any Conditional Payment has been made to or on behalf of such a Tort Trust Beneficiary,
the Tort Trustee shall, within the time period called for by the Medicare Act, (a) reimburse the
Medicare Trust fund, the appropriate Medicare plan or their authorized contractor for the
appropriate amount and (b) submit the required information for the Tort Trust Beneficiary to the
appropriate agency of the United States government; and (ii) the Tort Trustee shall otherwise
comply with any requirements (including, but not limited to, any reporting or payment
requirements) of any other federal or state governmental health insurance program and any
state's Medicaid or Workers Compensation statute. Prior to the Tort Trustee reimbursing any
Medicare Part A, B, C and D plan requiring repayment the Tort Trustee shall provide notice of
the existence of any Conditional Payment(s) and/or other lien(s) to the Tort Trust Beneficiary
and, if applicable, his or her attorney. The Tort Trust Beneficiary and/or his or her attorney may
elect to negotiate the amount of the alleged conditional payments within 120 days of notice from
the Tort Trustee, or prior to any deadline imposed by the Medicare Part A, B, C and D for
reimbursement, whichever is sooner. If the Tort Trust Beneficiary or his or her attorney elect not
to negotiate the alleged lien amounts, or the other lien(s) are not resolved within the time periods
specified, with the Tort Trust Beneficiary’s consent, the Tort Trustee may utilize the firm with
experience in resolving liens to satisfy the Tort Trust Beneficiary’s obligations represented by

                                                25
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 31
                                                                   Desc
                                                                     of 59Main
                        Document     Page 30 of 58



the Conditional Payment(s) and/or other lien(s). Upon receiving confirmation of the final
Medicare Part A, B, C and D amount requiring repayment, the Tort Trustee will reimburse the
appropriate Medicare Part A, B, C and D plan or their authorized contractor. Any payments
made to resolve such obligations of the Tort Trust Beneficiary, together with the fees paid to the
lien resolution firm, shall be deducted from the Tort Trust Beneficiary’s distribution of Tort
Trust Assets prior to disbursement of the balance to the Tort Trust Beneficiary or his or her
counsel.

        The Trustee, the Post-Effective Date Debtor and the Post-Confirmation Officer shall have
no responsibility or liability for (i) the creation, existence, operation or administration of the Tort
Trust; (ii) any acts or omissions of the Tort Trustee in administering the Tort Trust; (iii) any
reimbursement and reporting obligations under the Medicare Act or any state's Medicaid or
Workers Compensation statute; or (iv) any payment or non-payment of Claims. The Tort Trust
shall indemnify and hold harmless the Trustee, the Post-Effective Date Debtor and the Post-
Confirmation Officer from any and all claims, losses, causes of action, demands, liabilities,
expenses, fees, including, but not limited to, attorneys' fees, and costs of any kind arising from or
relating to (i) the creation, existence, operation or administration of the Tort Trust; (ii) any acts
or omissions of the Tort Trustee in administering the Tort Trust; (iii) any reimbursement or
reporting obligations under the Medicare Act or any state's Medicaid or Workers Compensation
statute or (iv) any payment or non-payment by the Tort Trust to any Tort Trust Beneficiary. Prior
to making any Tort Trust Distribution, the Tort Trust shall retain sufficient funds to meet the
fees, costs and expenses of the Tort Trust.

        5.11 Resolving Liens Other than Imposed by the Medicare Act and States’ Medicaid
and Worker Compensation Statutes. Before disbursing any Tort Trust Assets to a Tort Trust
Beneficiary, the Tort Trustee shall ensure that other liens that the Tort Trustee has received
notice of have been resolved or have been otherwise satisfied. To that end, the Tort Trustee shall
provide notice of the existence of any such lien(s) to the Tort Trust Beneficiary and, if
applicable, his or her attorney, and it shall be the Tort Trust Beneficiary’s (or his or her
attorney’s) responsibility to resolve such lien(s) against the Tort Trust Beneficiary’s anticipated
distribution of Tort Trust Assets within 120 days of notice from the Tort Trustee. If the lien has
not been settled or otherwise resolved within this 120-day time period, with the Tort Trust
Beneficiary’s consent, the Tort Trustee may retain a firm with experience in resolving liens to
satisfy the Tort Trust’s Beneficiary’s obligations as represented by the lien(s). Any payments
made to resolve such lien(s), together with the fees paid to the lien resolution firm, shall be
deducted from the Tort Trust Beneficiary’s distribution of Tort Trust Assets prior to
disbursement of the balance.

        5.12 Time of Tort Trust Distributions. Subject to the Claims Resolution Facility
Procedures and the Provider Claims Resolution Facility Procedures, the Tort Trustee shall have
the sole and absolute discretion to determine the timing of distributions of the proceeds of the
Tort Trust in the most efficient and cost-effective manner possible; provided, however, that the
Tort Trustee’s discretion shall be exercised in a manner consistent with the express requirements
of this Plan and the requirements of taxation as a grantor trust under applicable IRS guidelines,
rulings or other controlling authorities.

       5.13    Tax Treatment of Tort Trust.

                                                  26
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 32
                                                                   Desc
                                                                     of 59Main
                        Document     Page 31 of 58



                (i)     Tort Trust Assets Treated as Owned by Certain Creditors. For all
United States federal income tax purposes, all parties (including the Post-Confirmation Officer,
the Estate Representative, the Tort Trustee, the Resident Tort Trustee, the Settlement
Administrator(s), Tort Trust Beneficiaries and holders of Allowed Class E Claims) shall treat the
transfer of the Tort Trust Assets to the Tort Trust as (a) a transfer of the Tort Trust Assets
(subject to any obligations related to those assets) directly to the Tort Trust Beneficiaries and
holders of Allowed Class E Claims, followed by (b) the transfer by such Tort Trust Beneficiaries
and holders of Allowed Class E Claims of such Tort Trust Assets (other than the Tort Trust
Assets allocable to a Contested Claims Reserve or a Disputed Ownership Fund, each as
described in Section 5.13(v) hereof) to the Tort Trust in exchange for beneficial interests in the
Tort Trust. Accordingly, the Tort Trust Beneficiaries and holders of Allowed Class E Claims
shall be treated for federal income tax purposes (and, to the extent permitted, for state and local
income tax purposes) as the grantors and owners of their respective shares of the Tort Trust
Assets (other than the Tort Trust Assets allocable to an Expense Fund, if any, Contested Claims
Reserve or a Disputed Ownership Fund as described in Section 5.13(v) hereof).

               (ii)    Exemption from Transfer Taxes. Pursuant to section 1146(a) of the
Bankruptcy Code, the making or assignment of any lease or sublease, or the making or delivery
of any instrument of transfer from the Estate, the Post-Effective Date Debtor or the Post-
Confirmation Officer to the Tort Trust or any other Person or any government, governmental
agency or any subdivision, department or other instrumentality thereof, pursuant to this Plan,
shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or
similar tax, mortgage tax, stamp act, real estate transfer tax, mortgage recording tax or other
similar tax or governmental assessment and the Confirmation Order shall direct the appropriate
state or local governmental officials or agents to forego the collection of any such tax or
governmental assessment and to accept for filing and recordation any of the foregoing
instruments or other documents without the payment of any such tax or governmental
assessment. Without limiting the foregoing, any issuance, transfer or exchange of a security or
any making or delivery of an instrument of transfer pursuant to this Plan shall be exempt from
the imposition and payment of any and all transfer taxes (including but not limited to any and all
stamp taxes or similar taxes and any interest, penalties and addition to the tax that may be
required to be paid in connection with the consummation of this Plan) pursuant to sections
1146(a), 505(a), 106 and 1141 of the Bankruptcy Code.

               (iii)   Tax Reporting.

                       (1)    The Tort Trustee shall serve as the “Qualified Settlement Fund
Administrator” of the Shareholder Settlement QSF Account and in such capacity shall have the
exclusive responsibility and obligation to file all required tax returns and to otherwise administer
all funds from or deposited into a “Qualified Settlement Fund” for the benefit of Tort Trust
Beneficiaries.

                       (2)      The Tort Trustee shall file returns for the Tort Trust as a grantor
trust pursuant to Treasury Regulation section 1.671-4(a) and in accordance with this Section
5.13(iii). The Tort Trustee shall also annually send to each record holder of a beneficial interest
a separate statement setting forth the holder’s share of items of income, gain, loss, deduction or
credit and shall instruct all such holders to report such items on their federal income tax returns

                                                27
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 33
                                                                   Desc
                                                                     of 59Main
                        Document     Page 32 of 58



or to forward the appropriate information to the beneficial holders with instructions to report
such items on their federal income tax returns. The Tort Trustee shall also file (or cause to be
filed) any other statements, returns or disclosures relating to the Tort Trust that are required by
any Governmental Unit.

                      (3)     Tort Trust taxable income or loss shall be allocated pro rata based
on the total of Allowed and Disputed Claims of the Tort Trust Beneficiaries at the end of the
taxable year. Tort Trust taxable income or loss allocated to Disputed Claims shall be allocated to
the Contested Claims Reserve or Disputed Ownership Fund (each as described in Section 5.13(v)
hereof) (whichever applies), and reported to taxing authorities appropriately, as described further
herein.

                       (4)     As soon as possible after the Effective Date, the Tort Trustee shall
make a good faith valuation of the Tort Trust Assets. Such valuation shall be made available
from time to time, to the extent relevant, and used consistently by all parties (including the Estate
Representative, the Official Committee, the Tort Trustee, the Tort Trust Beneficiaries and
holders of Allowed Class E Claims) for all state and federal income tax purposes. The Tort Trust
also shall file (or cause to be filed) any other statements, returns or disclosures relating to the
Tort Trust that are required by any governmental unit.

                        (5)     The Tort Trustee may request an expedited determination of taxes
of the Tort Trust under Section 505 of the Bankruptcy Code for all returns filed for, or on behalf
of, the Tort Trust for all taxable periods through the termination of the Tort Trust.

                (iv)   Withholding of Taxes and Reporting Related to Tort Trust
Operations. The Tort Trustee shall comply with all withholding and reporting requirements
imposed by any federal, state, local or foreign taxing authority, and all distributions made by the
Tort Trust shall be subject to any such withholding and reporting requirements. The Tort Trustee
shall be authorized to take any and all actions that may be necessary or appropriate to comply
with any such withholding, payment, and reporting requirements. All amounts properly withheld
from distributions to a Tort Trust Beneficiary or holder of an Allowed Class E Claim as required
by applicable law and paid over to the applicable taxing authority for the account of such
Claimant shall be treated as part of the distributions to such Tort Trust Beneficiary or holder of
an Allowed Class E Claim. To the extent that the operation of the Tort Trust or the liquidation of
the Tort Trust Assets creates a tax liability imposed on the Tort Trust, including the Contested
Claims Reserve described in Section 5.12(v) hereof, the Tort Trust shall timely pay such tax
liability and any such payment shall be considered a cost and expense of the operation of the
Tort Trust payable without Bankruptcy Court order. Any federal, state or local withholding
taxes or other amounts required to be withheld under applicable law shall be deducted from
distributions hereunder. All Tort Trust Beneficiaries and holders of Allowed Class E Claims
shall be required to provide any information necessary to effect the withholding of such taxes.

               (v)     Reporting Related to Contested Claims Reserve. Notwithstanding any
other provision of the Tort Trust Agreement to the contrary, subject to definitive guidance from
the Internal Revenue Service or a court of competent jurisdiction to the contrary, the Tort Trustee
may treat any Tort Trust Asset allocable to, or retained on account of, a “Contested Claims
Reserve” as held by one or more discrete entities for federal, and state and local, income tax

                                                 28
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 34
                                                                   Desc
                                                                     of 59Main
                        Document     Page 33 of 58



purposes, subject to an allocable share of all expenses and obligations of the Tort Trust, on
account of such contested Claims. The Tort Trustee may, in the his sole discretion, file a tax
election to treat any Contested Claims Reserve as a “Disputed Ownership Fund” within the
meaning of Treasury Regulation Section 1.468B-9 for United States federal income tax purposes
rather than to tax such reserve as a part of the Tort Trust. All Tort Trust Beneficiaries, all
holders of Allowed Class E Claims, and all holders of Contested Claims, shall be bound by such
income tax treatment.

                (vi)    Qualified Settlement Fund Matters. To the maximum extent permitted
by law, all Tort Trust Assets transferred to the Tort Trust from a qualified settlement fund,
including without limitation any and all qualified settlement funds established under the
Shareholder Escrow and Control Agreement, shall be treated for all purposes as amounts
distributed to claimants for which the fund was established in accordance with Treasury
Regulation Section 1.468B-4, and shall be reported as excludable from gross income to the
extent permitted under section 104(a)(2) of the Tax Code. In no event shall amounts transferred
to the Tort Trust under the Shareholder Escrow and Control Agreement be treated as deemed
distributions to the transferors to any qualified settlement fund established under the Shareholder
Escrow and Control Agreement.

       5.14    Resolution of the Claims of Minors In Accordance With the Tort Trust.

               (i)    In connection with any Tort Claims in which the holder is a minor, the
Tort Trustee shall notify the parent, guardian, guardian ad litem, adult spouse, next friend, or
other representative of the minor of the proposed distribution to such minor. Such parent,
guardian, guardian ad litem, adult spouse, next friend, or other representative of the minor shall
move for approval of the allocation within ninety (90) days of his or her notification by the Tort
Trustee of the proposed distribution.

                (ii)     In the event that the parent, guardian, guardian ad litem, adult spouse, next
friend, or other representative of the minor does not so move for approval of the allocation
within ninety (90) days of his or her notification by the Tort Trustee of the proposed distribution,
the Tort Trustee shall submit the proposed distribution to the holder to the District Court for
approval in accordance with Section 140C1/2 of Chapter 231 of the Massachusetts General Laws
and request that the District Court hold a hearing on the petition, and the petitioner and the Tort
Claim holder may attend any such hearing. The Tort Trustee shall request the District Court to
determine whether the proposed distribution is in the Tort Claim holder’s best interests and, if
the proposed distribution is approved, that determination shall be embodied in an order which
shall have the effect of a judgment. Upon approval of the proposed distribution to such holder of
a Tort Claim, the Tort Trustee shall request the District Court to authorize payment to the
counsel of the minor, if any, of fees and disbursements to be paid from the distribution and
further shall order that the remainder of the distribution be distributed in a manner that will best
protect the interest of the minor.

        5.15 Access to Claims Information. Upon request made to the Estate Representative
on or after the Effective Date by the Tort Trustee, the Settlement Administrator(s) or the Special
Master, the Estate Representative shall deliver to the Tort Trustee, the Tort Trustee, the
Settlement Administrator(s) or the Special Master, as applicable, on an un-redacted basis, the

                                                 29
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 35
                                                                   Desc
                                                                     of 59Main
                        Document     Page 34 of 58



relevant Patient Lists and all proofs of claim and supporting documentation (including the
PITWD Addenda) for purposes of effectuating the Tort Trust and distributions to holders of
Allowed Class D Claims or Allowed Class E Claims. The Confirmation Order shall include all
findings and orders necessary to permit or facilitate such delivery and access, including with
respect to the confidentiality of the Patient Lists and the PITWD Addenda, subject to any further
orders of the Bankruptcy Court.

        5.16 Distribution of Surplus. The Tort Trustee shall make all payments required to be
paid to holders of Allowed Class D Claims or Allowed Class E Claims under this Plan, in
accordance with the terms and conditions of the Tort Trust Agreement, the Claims Resolution
Facility Procedures and the Provider Claims Resolution Facility Procedures. If, and only if, the
Tort Trustee has made distributions to Tort Trust Beneficiaries sufficient to satisfy in full the
Claims of each and every Tort Trust Beneficiary (as determined by the Tort Trustee, subject to
the MDL Court’s review of such determination), then the Tort Trustee shall distribute to the
holders of Allowed Class E Claims their Pro Rata Share of the remaining Cash, if any, of the
Tort Trust.

       5.17 Payments to Post-Effective Date Debtor. The Post-Confirmation Officer may
from time to time request that monies be transferred to the Post-Effective Date Debtor from the
Tort Trust for use and distribution as he deems appropriate in accordance with this Plan, and the
Tort Trustee shall promptly comply with any and all such request(s).

                            ARTICLE VI.
         MEANS FOR IMPLEMENTATION AND EXECUTION OF THIS PLAN

       6.01   Management of the Post-Effective Date Debtor.

               (i)     Post-Confirmation Officer. On the Effective Date, (a) the authority,
power and incumbency of the persons then acting as directors and officers of the Debtor, and that
of the Chapter 11 Trustee, shall be terminated, (b) such directors, officers and the Chapter 11
Trustee shall be deemed to have been discharged pursuant to Bankruptcy Code section 350(a)
and (c) Paul D. Moore, Esq. shall be appointed as the sole officer and director of NECC to serve
in accordance with the certificate of incorporation and the bylaws of NECC, as such may be
amended to carry out the provisions of this Plan. The Shareholders shall not have the power or
ability to remove the Post-Confirmation Officer or to affect any decision thereof.

              (ii)  Compensation. The Post-Confirmation Officer shall be entitled to
reasonable compensation in an amount consistent with that of similar functionaries in similar
types of bankruptcy proceedings without any need for filing fee applications under the
Bankruptcy Code or approval of any court.

               (iii) Indemnification. The Post-Confirmation Officer shall have quasi-judicial
immunity to the fullest extent allowed by law and shall have no liability to the Debtor or its
creditors, except for willful misconduct. The Tort Trustee shall indemnify and hold harmless the
Post-Confirmation Officer for any losses incurred in his or her capacity as such, except to the
extent such losses were the result of the Post-Confirmation Officer’s willful misconduct.


                                               30
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 36
                                                                   Desc
                                                                     of 59Main
                        Document     Page 35 of 58



                (iv)  Successor. In the event the Post-Confirmation Officer dies, is terminated
or resigns for any reason, the Bankruptcy Court shall designate a successor on motion of any
party in interest.

       6.02 Duties and Powers of the Post-Confirmation Officer. The Post-Confirmation
Officer shall have the power and authority to implement and administer this Plan, including:

                 (i)   Claims. The Post-Confirmation Officer may object to, compromise or
settle any or all Claims (with the exception of Class D Claims) against the Debtor or the Estate.

                (ii)   Selling, Monetizing or Liquidating Assets. The Post-Confirmation
Officer may, but is not required to, sell, monetize or liquidate any assets, including, but not
limited to, (a) the Affiliated Entities, (b) any assets transferred to the Estate Representative in
accordance with the Settlement Agreements, (c) the Estate Representative’s entitlement to
receive such assets in accordance with the Settlement Agreements, (d) any assets the Estate
Representative is entitled to sell for the benefit of the Estate in accordance with the Settlement
Agreements, and (e) any rights of the Estate Representative to sell, monetize, or liquidate any
assets in accordance with the Settlement Agreements.

              (iii) Abandoning Assets. The Post-Confirmation Officer may abandon or
donate any assets, if he concludes in his sole discretion that they are of no benefit or
inconsequential value without the need for further order or notice.

                (iv)   Retention of Professionals.        After the Effective Date, the Post-
Confirmation Officer may retain such law firms or attorneys, experts, advisors, consultants,
investigators, appraisers, auctioneers, corporate management services, or other persons or
professional firms as the Post-Confirmation Officer determines, in his or her sole discretion, are
necessary, desirable or appropriate to aid in the performance of his or her duties, without the
need for further order or notice. The Post-Confirmation Officer may pay or appropriate funds
necessary to pay the professionals for services rendered and expenses incurred after the Effective
Date without any need for filing fee applications under the Bankruptcy Code or approval of any
court.

                (v)    Books and Records. The Post-Confirmation Officer shall maintain the
Debtor’s books and records, maintain accounts, make distributions and take other actions
consistent with this Plan and the implementation hereof. The Post-Confirmation Officer shall
have the responsibility of storing and maintaining the Debtor’s books and records only until such
time as he deems, in his sole discretion and subject to the Agreed Order Granting Relief from
Preservation Order to Permit Chapter 11 Trustee to Sell or Otherwise Dispose of Remaining
NECC Property [MDL Docket No. 1538], such books and records may be abandoned or
destroyed, and the Post-Confirmation Officer shall have no liability to any party on account of
such abandonment or destruction; provided, however, that the Post-Confirmation Officer shall
neither abandon nor destroy any such books or records a Shareholder or his or her counsel
reasonably requests to be maintained pursuant to the Shareholder Settlement Agreement. In
addition to the materials to be provided to the Tort Trustee pursuant to Section 5.14 of this Plan,
at the time such materials are provided to the Tort Trustee pursuant to Section 5.14 of this Plan,
the Post-Confirmation Officer shall provide the Tort Trustee with such of the Debtor’s books and

                                                31
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 37
                                                                   Desc
                                                                     of 59Main
                        Document     Page 36 of 58



records as the Tort Trustee may reasonably request in connection with the administration of the
Claims Resolution Facility and the Provider Claims Resolution Facilities, if any, and the Post-
Confirmation Officer shall have no liability to any party on account of such provision. The
Post-Confirmation Officer shall retain the right to access and copy any records provided to the
Tort Trustee. For purposes of this section, books and records include computer generated or
computer maintained books and records and computer data, as well as electronically generated or
maintained books and records or data, together with books and records of the Debtor maintained
by or in possession of third parties and all of the claims and rights of the Debtor in and to their
books and records, wherever located.

               (vi)   Agreements.        The Post-Confirmation Officer may enter into any
agreement or execute any document which he deems to be required by or consistent with this
Plan or necessary or appropriate to its implementation and perform all of obligations of the Post-
Effective Date Debtor.

               (vii) Investment Power. Management of all assets and investments of the
Post-Effective Date Debtor’s Cash shall be administered, subject to the limitations and
provisions set forth herein, in view of the manner in which individuals of ordinary prudence,
discretion and judgment would act in the management of their own affairs. The Post-
Confirmation Officer shall invest and reinvest the Post-Effective Date Debtor’s Cash and keep
the Post-Effective Date Debtor’s Cash invested in interest-bearing accounts at an approved
depository institution to be selected from the United States Trustee’s List of Authorized
Depositories for Bankruptcy Cases filed in Region One, dated July 26, 2013. Each account shall
be treated as a single fund without distinction between principal and income. For purposes of
this paragraph, “interest-bearing account” includes a money fund whose objectives are current
income consistent with liquidity and low risk, the maintenance of a portfolio of high quality,
short-term money market instruments and maintenance of a constant $1.00 net asset value per
share. All investments shall be made so as to at all times provide sufficient liquidity to meet the
anticipated cash needs of the Post-Effective Date Debtor as set forth herein.

                 (viii) Tax Obligations. The Post-Confirmation Officer shall (a) endeavor to
complete and file the Debtor’s or the Post-Effective Date Debtor’s, as applicable, federal and
state tax returns, (b) request, if necessary, an expedited determination of any unpaid tax liability
of the Debtor under Bankruptcy Code section 505 for all taxable periods of the Debtor ending
after the Petition Date as determined under applicable tax laws and (c) represent the interest and
account of the Debtor, its Estate or the Post-Effective Date Debtor, as applicable, before any
taxing authority in all matters including, without limitation, any action, suit, proceeding or audit,
in all respects consistently with the Shareholder Settlement Agreement and the Shareholder
Escrow and Control Agreement.

               (ix)   Reporting Duties. The Post-Confirmation Officer shall be responsible for
filing informational returns on behalf of the Debtor or the Post-Effective Date Debtor, as
applicable, and any other statements, returns or disclosures relating to the Debtor or the Post-
Effective Date Debtor, as applicable, that are required by any governmental unit or applicable
law.



                                                 32
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 38
                                                                   Desc
                                                                     of 59Main
                        Document     Page 37 of 58



               (x)    Reasonable Fees and Expenses. The Post-Confirmation Officer may
incur and pay and satisfy any reasonable and necessary fees and expenses in connection with the
performance of his duties under this Plan without the need for further order or notice.

       6.03 Other Actions. The Post-Confirmation Officer may take all other actions not
inconsistent with the provisions of this Plan which the Post-Confirmation Officer deems
reasonably necessary or desirable with respect to administering this Plan.

        6.04 Expense Fund. On or after the Confirmation Date, if he deems advisable in his
sole discretion, the Estate Representative shall transfer the Expense Fund Amount to the Expense
Fund Administrator. The Expense Fund, and earnings thereon, may be used for, inter alia,
payment of Allowed Class C Claims, Allowed Administrative Claims, Allowed Priority Tax
Claims, Allowed Priority Non-Tax Claims, the post-confirmation fees and expenses, including
applicable income taxes, of the Estate Representative, fees and expenses, including applicable
income taxes, of the Expense Fund, and such other fees or expenses of the Debtor and the Estate
as determined by the Estate Representative on or before the date he transfers the Expense Fund
Amount to the Expense Fund Administrator. The allocation and disbursement of the Expense
Fund shall be made in accordance with such determination. To the extent that a portion of the
Expense Fund is not disbursed, or otherwise held in reserve to fund the costs and expenses
described herein, in the sole judgment of the Expense Fund Administrator, such portion shall be
transferred to the Tort Trust, and shall be subject to the terms thereof. In no event shall any
amount transferred to the Expense Fund revert to the Debtor or the Estate Representative. The
Debtor or the Estate Representative shall have no rights in the Expense Fund except as
determined by the Expense Fund Administrator in accordance with this Section 6.04. For all
applicable income tax purposes, the Expense Fund Administrator shall file income tax returns for
the Expense Fund as a complex trust or other tax entity as determined by the Expense Fund
Administrator, and the Expense Fund shall be subject to and shall pay tax on its taxable income,
if any.

       6.05   Distributions Under this Plan.

               (i)     Disbursing Agent. All distributions under this Plan to holders of Allowed
Class A, B and C Claims shall be made in accordance with the terms of this Plan by the Post-
Confirmation Officer or the Expense Fund Administrator, as applicable. Distributions to holders
of Allowed Class D and E Claims shall be made by the Tort Trustee in accordance with the terms
and provisions of the Plan and the Tort Trust Documents.

              (ii)     Effective Date Payments. On the Effective Date, or as soon thereafter as
reasonably practicable, the Post-Confirmation Officer shall remit, to each holder of an Allowed
Class A, B or C Claim (as of the Distribution Record Date) the distribution provided for such
Claim under this Plan.

                (iii) Distribution of Cash. At the option of the Post-Confirmation Officer or
the Tort Trustee, as the case may be, any Cash payment to be made hereunder may be by check
or wire transfer.



                                               33
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 39
                                                                   Desc
                                                                     of 59Main
                        Document     Page 38 of 58



               (iv)   Currency. Where a Claim has been denominated in foreign currency on a
proof of claim, the Allowed amount of such Claim shall be calculated in currency of the United
States of America based upon the conversion rate in place as of the Petition Date and in
accordance with section 502(b) of the Bankruptcy Code.

                (v)     Retention of Cash. In making the distributions under this Plan to holders
of Allowed Claims in Class A, B or C, the Post-Confirmation Officer shall at all times, and
subject to Section 6.04 hereof, and taking into account the Cash, if any, available in the Expense
Fund for the purposes set forth in Section 6.04 hereof, retain sufficient Cash as he determines in
his sole discretion is reasonably necessary to (a) satisfy all Allowed or Disputed Administrative
Expense Claims, Priority Tax Claims and Priority Non-Tax Claims, (b) meet the reasonably
necessary administrative expenses of the Post-Effective Date Debtor, including the fees of the
Post-Confirmation Officer and (c) satisfy all Disputed Claims (except Disputed Tort Claims).

                 (vi)    Distribution of Shareholder Settlement Non-QSF Monies. The Estate
Representative shall direct the distribution of the Shareholder Settlement Non-QSF Monies, if
any, as he determines appropriate in his sole discretion pursuant to this Plan, including, without
limitation, for transfer to the Estate and/or for the satisfaction of Administrative Expense Claims.

                (vii) Interim Distributions. The Post-Confirmation Officer may, but shall not
be required to, make interim distributions on account of Allowed Administrative Expense
Claims, Allowed Priority Tax Claims, Allowed Priority Non-Tax Claims and wind down costs
and expenses. For the avoidance of doubt, the Post-Confirmation Officer shall make no interim
distributions to holders of Class D or E Claims, but instead all such interim distributions, if any,
shall be made by the Tort Trustee in accordance with the Tort Trust Documents.

               (viii) Final Distributions. As soon as reasonably practicable after the
resolution of all Disputed Non-Tort Claims, the Post-Confirmation Officer shall (i) to the extent
not previously paid, pay all Allowed Administrative Expense Claims, Allowed Priority Tax
Claims, Allowed Priority Non-Tax Claims and wind down costs and expenses; and (ii) to the
extent the Post-Effective Date Debtor has remaining Cash after the payments made in
accordance with (i) above, distribute such remaining Cash to the Tort Trust. For the avoidance
of doubt, the Post-Confirmation Officer shall make no final distributions to holders of Class D or
E Claims, but instead all such final distributions, if any, shall be made in accordance with the
Tort Trust Agreement and Claims Resolution Facility Procedures.

       6.06 Disallowance of Multi-Claimant Proofs of Claim. In accordance with paragraph
10 of the Bar Date Order, Claims evidenced by (i) “Multi-Claimant PITWD Claims” (i.e., by
proofs of claim joining or on behalf of two (2) or more claimants) submitted without the prior
approval of the Bankruptcy Court, or (ii) by proofs of claim purporting to be on behalf of a class
of claimants shall be and are hereby disallowed to the extent not previously disallowed;
provided, however, that proofs of claim joining or on behalf of two (2) claimants, one of whose
sole Claim is a Class D Consortium Claim, shall not be disallowed pursuant to this Section 6.06.

       6.07    Procedures for Treating Disputed Claims.



                                                34
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 40
                                                                   Desc
                                                                     of 59Main
                        Document     Page 39 of 58



               (i)     Estimation of Claims. The Post-Confirmation Officer may at any time
request that the Bankruptcy Court estimate any Claim in Class A, B or C pursuant to section
502(c) of the Bankruptcy Code. The Tort Trustee may at any time request that the Bankruptcy
Court estimate any Claim in Class D or Class E pursuant to section 502(c) of the Bankruptcy
Code. In the event that the Bankruptcy Court estimates any Disputed Claim in Classes A, B, C,
D or E, the amount so estimated shall constitute either the Allowed amount of such Claim or a
maximum limitation on such Claim, as determined by the Bankruptcy Court. If the estimated
amount constitutes a maximum limitation on the amount of such Claim, the Post-Confirmation
Officer or the Tort Trustee, as applicable, may pursue supplementary proceedings to object to the
allowance of such Claim. All of the aforementioned objection, estimation and resolution
procedures are intended to be cumulative and not exclusive of one another. Claims in Classes A,
B, C, D or E may be estimated and subsequently disallowed, reduced, compromised, settled,
withdrawn or resolved by any mechanism approved by the Bankruptcy Court.

               (ii)   Resolution of Disputed Claims.

                        (1)    To the extent that a Disputed Claim in Classes A, B, C or E is not
Allowed or becomes an Allowed Claim in an amount less than the amount of the Disputed Claim
set forth in the proof of claim, or as previously estimated by the Bankruptcy Court, the excess of
the amount of Cash that would have been distributed to the holder of the Disputed Claim in
Classes A, B, C or E if the Claim had been Allowed in full over the amount of Cash actually
distributed on account of such Disputed Claim shall be available Cash.

                         (2)     Holders of Disputed Claims in Classes A, B, C or E shall not be
entitled to interest if such Disputed Claim becomes an Allowed Claim except to the extent such
holder is entitled to interest pursuant to federal or state law.

       6.08 Closing of the Chapter 11 Case. When all Disputed Non-Tort Claims have
become Allowed Claims or have been disallowed by Final Order, the Tort Trustee and/or the
Post-Confirmation Officer may, if he or she so elects in his or her sole discretion, seek authority
from the Bankruptcy Court to close the Chapter 11 Case in accordance with the Bankruptcy
Code and the Bankruptcy Rules.

         6.09 Cancellation of Existing Agreements. Except for purposes of evidencing a right
to distributions under this Plan or otherwise provided hereunder, on the Effective Date all of the
agreements and other documents, except for and other than the Tort Trust Documents, the
Settlement Agreements and insurance policies issued to, or insurance agreements entered into
by the Debtor prior to the Petition Date (including, without limitation, any policies covering
directors’ or officers’ conduct), evidencing the Claims or rights of any holder of a Claim against
the Debtor, including any notes evidencing such Claims, shall be deemed cancelled.

       6.10 Continued Corporate Existence. The Post-Effective Date Debtor shall continue
to exist after the Effective Date, with all powers of a corporation under the laws of the
Commonwealth of Massachusetts except for shareholder management. The Post-Effective Date
Debtor’s certificate of incorporation and bylaws shall be deemed amended to include a provision
prohibiting the issuance of non-voting equity securities, thereby satisfying the requirements of
Bankruptcy Code section 1123(a)(6). The Post-Confirmation Officer, as the sole officer and

                                                35
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 41
                                                                   Desc
                                                                     of 59Main
                        Document     Page 40 of 58



director of the Post-Effective Date Debtor, shall perform each of the actions provided for under
this Plan without any requirement of further action by or consent or vote of the Shareholders. At
the discretion of the Post-Confirmation Officer, the Post-Effective Date Debtor shall be
authorized, only following the completion of all disbursements to holders of Allowed Claims in
Classes A, B and C, other transfers and other actions required under this Plan, including without
limitation, the sale, monetization or liquidation of the assets, including, but not limited to, any
assets transferred to the Estate in accordance with the Settlement Agreements and any assets to
which the Estate Representative is entitled to sell for the benefit of the Estate in accordance with
the Settlement Agreements, or to file certificates of cancellation or dissolution. The filing of
such certificates of cancellation or dissolution shall be deemed authorized and approved in all
respects without further action under applicable law, regulation, order or rule, including, without
express or implied limitation, any action by the Shareholders. After the Effective Date, the
Shareholders shall have no power or authority with respect to the management, operation or
other functions of the Post-Effective Date Debtor.

       6.11 Effectuating Documents and Further Transactions. Upon the Effective Date,
the Estate Representative is authorized and directed to execute, deliver, file or record such
contracts, releases and other agreements or documents and take such actions as he may deem to
be necessary or appropriate to effectuate and further evidence the terms and conditions of this
Plan.

                                   ARTICLE VII.
                       PROVISIONS GOVERNING DISTRIBUTIONS

        7.01 Distribution Record Date. (i) As of the close of business on the Distribution
Record Date, the claim ledgers for each of the Classes of Claims or Equity Interests shall be
deemed closed, and there shall be no further changes in the record holders of any of the Claims
or Equity Interests; (ii) the Debtor, the Chapter 11 Trustee, the Post-Confirmation Officer and the
Tort Trustee, as the case may be, shall have no obligation to recognize any transfer of Claims or
Equity Interests entered on the docket of the Bankruptcy Court on or after the Distribution
Record Date; and (iii) the Debtor, the Chapter 11 Trustee, the Post-Confirmation Officer and the
Tort Trustee, as the case may be, shall be entitled to recognize and deal for all purposes
hereunder only with those record holders stated on the claim and/or their attorneys as of the close
of business on the Distribution Record Date, to the extent applicable.

        7.02 Delivery of Distributions and Undeliverable Distributions.               Subject to
Bankruptcy Rule 9010 and the provisions of Section 6.05 hereof, all distributions to any holder
of an Allowed Claim in Class A, B or C shall be made at the address of such holder as set forth
on the Schedules filed with the Bankruptcy Court or on the books and records of the Debtor
unless the Chapter 11 Trustee and/or the Post-Confirmation Officer has been notified in writing
of a change of address, including, without limitation, by the filing of a proof of claim by such
holder that contains an address for such holder different from the address reflected on such
Schedules for such holder. In the event that any distribution to any holder of an Allowed Claim
in Class A, B or C is returned as undeliverable, no further distributions to such holder shall be
made unless and until the Chapter 11 Trustee and/or the Post-Confirmation Officer is notified of
such holder’s then-current address, at which time all missed distributions shall be made to such
holder, without interest. All demands for undeliverable distributions shall be made on or before

                                                36
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 42
                                                                   Desc
                                                                     of 59Main
                        Document     Page 41 of 58



ninety (90) days after the date such undeliverable distribution was initially made. Thereafter, in
accordance with section 347(b) of the Bankruptcy Code, the amount represented by such
undeliverable distribution shall irrevocably revert to the Debtor, and any Claim in respect of such
undeliverable distribution shall be discharged and forever barred from assertion against the
Debtor and its property. No distribution shall be made to any Claimant in Class A, B or C
and the Claimant’s Claim shall be disallowed without further order of the Bankruptcy
Court, if such Claimant has not delivered a signed form W-9 to the Post-Confirmation
Officer within sixty (60) days of the Effective Date.

        7.03 De Minimus Distributions. The Post-Confirmation Officer shall not be required
to, but may in his sole and absolute discretion, make distributions to any holder of an Allowed
Claim in Class A, B, or C of Cash in an amount less than twenty-five (25) dollars. When
distributions do not reach the $25.00 payment threshold, such payment that would have been
made will be reserved for the benefit of such claimant until subsequent distribution(s), if any,
exceed the threshold on a cumulative basis.

        7.04 Transactions on Business Days. If the Effective Date or any other date on which
a transaction may occur under this Plan shall occur on a day that is not a Business Day, the
transactions contemplated by this Plan to occur on such day shall instead occur on the next
succeeding Business Day but shall be deemed to have been completed as of the required date.

         7.05 Allocation of Plan Distribution Between Principal and Interest.                   All
distributions in respect of any Allowed Claim shall be allocated first to the principal amount of
such Allowed Claim, as determined for federal income tax purposes, and thereafter, to the
remaining portion of such Claim comprising interest, if any (but solely to the extent that interest
is an allowable portion of such Allowed Claim).

         7.06 Withholding and Reporting Requirements. The Post-Confirmation Officer shall
comply with all applicable withholding and reporting requirements imposed by any federal, state,
local or foreign tax authority but only with respect to Classes A, B or C, and all distributions
under this Plan to Class A, B or C shall be subject to any such withholding and reporting
requirements. The Tort Trustee shall comply with all applicable withholding and reporting
requirements imposed by any federal, state, local or foreign tax authority but only with respect to
Classes D or E, and all distributions under this Plan or the Tort Trust Documents to holders of
Allowed Class D or Allowed Class E Claims shall be subject to any such withholding and
reporting requirements. Notwithstanding the above, each holder of an Allowed Claim that is to
receive a distribution under this Plan shall have the sole and exclusive responsibility for the
satisfaction and payment of any tax obligations imposed by any governmental unit, including
income, withholding and other tax obligations, on account of such distribution, and under no
circumstances shall the Chapter 11 Trustee or the Post-Confirmation Officer have or incur any
liability with respect to the satisfaction and payment of any such tax obligations, or the non-
payment or failure by any such holder to satisfy any such tax obligation.




                                                37
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 43
                                                                   Desc
                                                                     of 59Main
                        Document     Page 42 of 58



                              ARTICLE VIII.
                EXECUTORY CONTRACTS AND UNEXPIRED LEASES

        8.01 Executory Contracts and Unexpired Leases. On the Effective Date, all
executory contracts and unexpired leases to which the Debtor is or may be deemed a party,
except for and other than the Tort Trust Documents, the Settlement Agreements (including the
insurance policy rights assigned to the Debtor pursuant thereto)and insurance policies issued to,
or insurance agreements entered into by, the Debtor prior to the Petition Date (including, without
limitation, any policies covering directors’ or officers’ conduct), shall be deemed rejected as of
the Effective Date, without the need for any further action by the Post-Confirmation Officer
except for an executory contract or unexpired lease that (i) has been assumed or rejected
pursuant to Final Order of the Bankruptcy Court entered prior to the Effective Date or (ii) is the
subject of a separate motion to assume or reject filed under section 365 of the Bankruptcy Code
by the Debtor prior to the Effective Date.

        8.02 Insurance Policies and Agreements. Except as set forth in the Settlement
Agreements or the Confirmation Order, insurance policies issued to, or insurance agreements
entered into by, the Debtor prior to the Petition Date (including, without limitation, any policies
covering directors’ or officers’ conduct) shall continue in effect after the Effective Date. To the
extent that such insurance policies or agreements (including, without limitation, any policies
covering directors’ or officers’ conduct) are considered to be executory contracts, then,
notwithstanding anything to the contrary herein, this Plan shall constitute a motion to assume or
ratify such insurance policies and agreements, and, subject to the occurrence of the Effective
Date, the entry of the Confirmation Order shall constitute approval of such assumption pursuant
to section 365(a) of the Bankruptcy Code and a finding that each such assumption is in the best
interests of the Debtor and its Estate. Unless otherwise determined by the Bankruptcy Court
pursuant to a Final Order or agreed to by the parties thereto prior to the Effective Date, no
payments shall be required to cure any defaults of the Debtor existing as of the Confirmation
Date with respect to each such insurance policy or agreement. To the extent that the Bankruptcy
Court determines otherwise as to any such insurance policy or agreement, the Plan Proponents
reserve the right to seek the rejection of such insurance policy or agreement or other available
relief.

        8.03 Approval of Rejection of Executory Contracts and Unexpired Leases. Entry of
the Confirmation Order shall constitute the approval, pursuant to section 365(a) of the
Bankruptcy Code, of the rejection of the executory contracts and unexpired leases rejected as of
the Effective Date pursuant to this Plan.

        8.04 Rejection Claims. In the event that the rejection of an executory contract or
unexpired lease by the Debtor pursuant to this Plan results in damages to the other party or
parties to such contract or lease, a Claim for such damages, if not heretofore evidenced by a filed
proof of claim, shall be forever barred and shall not be enforceable against the Debtor, or any
property to be distributed under this Plan unless a proof of claim is filed with the Bankruptcy
Court and served upon the Post-Confirmation Officer on or before the date that is thirty (30) days
after the Confirmation Date.



                                                38
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 44
                                                                   Desc
                                                                     of 59Main
                        Document     Page 43 of 58



        8.05 Rejection Claims of Officers and Directors of the Debtor. Notwithstanding
section 8.04 of this Plan, in consideration for the releases and injunctions provided in this Plan
and the Settlement Agreements, (i) all contracts or agreements between the Debtor and the
former and current officers or directors of the Debtor, with the exception of the Settlement
Agreements, are deemed rejected as of the Effective Date, without the need for any further action
by the Post-Confirmation Officer and (ii) the claims of such former and current officers or
directors of the Debtor, if any, resulting from such rejection are hereby deemed waived.

                                     ARTICLE IX.
                              EFFECTIVENESS OF THIS PLAN

         9.01 Conditions to Confirmation. This Plan shall not be confirmed unless the
Confirmation Order (i) is in a form and substance satisfactory to the Chapter 11 Trustee and the
Official Committee and is otherwise consistent and in accord with the Settlement Agreements,
(ii) is in a form acceptable to the Shareholders as to the matters relating to the Shareholder
Settlement Agreement, and (iii) approves and implements, among other things, (a) the Settlement
Agreements, to the extent any of the Settlement Agreements have not otherwise or previously
been approved by the Bankruptcy Court, and (b) the releases and injunctions set forth in sections
10.05 and 10.06 of this Plan. The foregoing conditions to confirmation of this Plan are material
and non-waivable.

       9.02 Date of Effective Date. The Effective Date shall occur on the later of: (i) the first
Business Day following (14) days after the Confirmation Date, provided that a court of
competent jurisdiction has not entered a stay of the Confirmation Order as of such date (in which
instance, the Effective Date will not occur until such stay is dissolved); and (ii) the first Business
Day on which all other conditions to the Effective Date have been satisfied or waived.

        9.03 Satisfaction of Conditions. Any actions required to be taken on the Effective
Date shall take place and shall be deemed to have occurred simultaneously, and no such action
shall be deemed to have occurred prior to the taking of any other such action.

       9.04 Occurrence of Effective Date. The Plan Proponents shall cause the Effective
Date to occur as soon as is practicable.

      9.05 Substantial Consummation Upon Effective Date. On the Effective Date, this
Plan will be deemed to be substantially consummated under the applicable sections of the
Bankruptcy Code.

                                      ARTICLE X.
                                EFFECT OF CONFIRMATION

       10.01 Vesting of Assets.

               (i)    As of the Effective Date, the property of the Estate shall vest in the Post-
Effective Date Debtor or such other Entity as provided in this Plan.

               (ii)   From and after the Effective Date, the Post-Confirmation Officer or Tort
Trustee, as the case may be, may dispose of, or cause to be disposed of, the assets of the Post-

                                                 39
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 45
                                                                   Desc
                                                                     of 59Main
                        Document     Page 44 of 58



Effective Date Debtor and the Tort Trust, respectively, free of any restrictions of the Bankruptcy
Code, but in accordance with the provisions, as the case may be, of this Plan and the Tort Trust
Documents.

               (iii) As of the Effective Date, all assets of the Post-Effective Date Debtor and
the Tort Trust shall be free and clear of all Claims, except as otherwise provided in this Plan or
the Confirmation Order.

       10.02 Binding Effect. Except as otherwise provided in section 1141(d)(3) of the
Bankruptcy Code, on and after the Effective Date, the provisions of this Plan shall bind any
holder of a Claim against, or Equity Interest in, the Debtor and its respective successors and
assigns, whether or not the Claim or Equity Interest of such holder is Impaired under this Plan,
whether or not such Claim or Equity Interest has been filed or asserted against the Debtor and
whether or not such holder has accepted this Plan.

        10.03 Exculpations and Limitation of Liability. As of the Effective Date, none of (i)
the Chapter 11 Trustee, (ii) the Official Committee or (iii) the members, representatives,
accountants, financial advisors, consultants and attorneys of the Entities described in (i) and (ii)
of this paragraph shall have or incur any liability to any person for any act taken or omission in
connection with or related to the Chapter 11 Case, including but not limited to (i) formulating,
preparing, disseminating, implementing, confirming, consummating or administrating this Plan
(including soliciting acceptances or rejections thereof), (ii) the Disclosure Statement or any
contract, release or other agreement or document entered into or any action taken or omitted to
be taken in connection with this Plan or the Disclosure Statement, or (iii) any distributions made
pursuant to this Plan, except for any acts determined by Final Order to have constituted willful
misconduct, bad faith or gross negligence.

       10.04 Preservation and Non-Waiver of Estate Defenses and Objections and Related
Rights Reserved for the Debtor, its Successors in Interest, Creditors and Parties in Interest.

                (i)    No Limitation on Defenses, Set-Off or Right to Subordination as to
Claims Against the Estate. Nothing in this Plan (other than the provisions of sections 10.03
and 10.05 hereof) the Confirmation Order or the Settlement Agreements shall alter, enhance,
waive, release or otherwise impair or preclude any of the Estate’s defenses, rights to set-off
and/or rights to compel subordination as to any Claim or Administrative Expense Claim of any
type asserted against the Estate, as otherwise allowed by law, including the right to assert as a
defense, set-off or subordination, any claim that would ordinarily or otherwise have to be
asserted in or brought by a cross-claim, cross-complaint or separate action.

             (ii)      No Limitation on Right to Object to Claims or Administrative
Expense Claims.

                      (1)     Nothing in this Plan (other than the provisions of Sections 10.03
and 10.05 hereof) the Confirmation Order or the Settlement Agreements shall alter, enhance,
waive, release or otherwise impair or preclude the right and ability of (a) the Estate
Representative and all his or her successors in interest to object to any Class A, B, C or E Claim
or Administrative Expense Claim, (b) the Tort Trustee and all his or her successors in interest to

                                                40
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 46
                                                                   Desc
                                                                     of 59Main
                        Document     Page 45 of 58



object to any Class E Claim, or (c) the Official Committee or any other Creditor or party in
interest to object to any Class A, B, C or E Claim or Administrative Expense Claim (collectively,
the “Permitted Objections”). The Permitted Objections may include, as part of any objection to
any Class A, B, C or E Claim or Administrative Expense Claim, a prayer for denial or
disallowance of the Class A, B, C or E Claim or Administrative Expense Claim, reduction in
amount by off-set, disgorgement of amounts previously paid and/or equitable subordination, as
otherwise allowed by law, on any ground that could have been brought by way of lawsuit,
adversary proceeding or contested matter but for (a) the releases contained in the Settlement
Agreements, (b) the exculpation contained in section 10.03 of this Plan (c) the releases and
injunctions contained in sections 10.05 and 10.06 of this Plan, (d) the covenant not to sue
contained in section 10.08 of this Plan or (e) the Confirmation Order. In addition, the makers of
the Permitted Objections may utilize whatever remedies and procedural vehicles are otherwise
available under the law, including, if necessary, an adversary proceeding, provided that the
makers of the Permitted Objections, consistent with the covenant not to sue contained in section
10.07 of this Plan, shall not seek any affirmative recovery or relief beyond denial, disallowance,
disgorgement of amounts previously paid, reduction or subordination of the Class A, B, C or E
Claim or Administrative Expense Claim at issue. Objections to Class E Claims shall be heard
and determined by the Bankruptcy Court.

                        (2)    Nothing in this Plan (other than the provisions of sections 10.03
and 10.05 hereof) the Confirmation Order or the Settlement Agreements shall alter, enhance,
waive, release or otherwise impair or preclude the right and ability of the Chapter 11 Trustee or
other Estate Representative, and all his or her successors in interest, to object to any Claim
(including any Class D Claim) either for the purpose of determining the holder of such Claim’s
eligibility to vote on this Plan or the amount of such Claim. For the avoidance of doubt, with
respect to a Class D Claim, such objection(s), if any, shall not include a prayer for denial or
disallowance of the subject Class D Claim.

       10.05 Releases.

               (i)    Settlement Agreement Releases Supplemented; No Impact on Rights
to Object. The following releases shall be in addition to and are intended to supplement any
releases included in the Settlement Agreements as between the parties to such Settlement
Agreements. Except as expressly set forth in the Settlement Agreements, nothing in this Plan or
the releases set forth herein shall affect any rights of the Chapter 11 Trustee, the Post-
Confirmation Officer, any Estate Representative(s) or the Official Committee to object to the
allowance, amount, priority or secured status of the claims of any party receiving a release under
this Plan as provided in sections 502, 503, 506, 507, 509 or 510 of the Bankruptcy Code,
including with respect to any right of setoff or recoupment.

               (ii)   Releases by the Debtor and Estate Representative(s). Except as set
forth in section 10.05(i) of this Plan, and subject in all respects to the provisions of section
10.04 of this Plan, on the Effective Date, the Debtor, the Chapter 11 Trustee, the Estate
Representative(s) and the Estate shall unconditionally release, and hereby are deemed to
forever unconditionally release, the Shareholder and Affiliate Released Parties, the Other
Contributing Parties, including, without limitation, GDC, the Individual GDC Insureds and
Preferred Mutual, and the Tort Claimants from any and all Claims, debts, obligations,

                                               41
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 47
                                                                   Desc
                                                                     of 59Main
                        Document     Page 46 of 58



demands, liabilities, suits, judgments, damages, rights and Estate Causes of Action,
whatsoever (other than the right to enforce the obligations under this Plan, the Settlement
Agreements and the contracts, instruments, releases and other agreements and documents
delivered thereunder), whether direct or indirect, liquidated or unliquidated, fixed or
contingent, matured or unmatured, known or unknown, then existing or thereafter arising, in
law, equity or otherwise that are based in whole or in part upon any act or omission,
transaction, transfer event or other occurrence taking place on or prior to the Effective Date
in any way relating to the Debtor or to the Debtor’s products, including, without limitation, the
Drugs, the Chapter 11 Case, this Plan, the Disclosure Statement, the Debtor’s estate, the
Policies, GDC, and the negotiation or funding of the Settlement Agreements.

                (iii) Releases in Favor of the Debtor and Estate Representative(s). Subject
in all respects to the provisions of section 10.04 of this Plan, on the Effective Date, each of the
Debtor, the Chapter 11 Trustee, the Estate Representative(s), and the Estate shall be forever
and unconditionally released from any and all Claims, debts, obligations, demands, liabilities,
suits, judgments, damages, rights and causes of action, whatsoever by all Entities (other than
the right to enforce the obligations under this Plan, the Settlement Agreements and the
contracts, instruments, releases and other agreements and documents delivered thereunder),
whether direct or indirect, liquidated or unliquidated, fixed or contingent, matured or
unmatured, known or unknown, then existing or thereafter arising, in law, equity or otherwise
that are based in whole or in part upon any act or omission, transaction, event or other
occurrence taking place on or prior to the Effective Date in any way relating to the Debtor or
to the Debtor’s products, including, without limitation, the Drugs, the Chapter 11 Case, this
Plan, the Disclosure Statement, any prepetition act or omission of the Debtor, the Debtor’s
estate, the Policies, GDC and the negotiation or funding of the Settlement Agreements.

               (iv)    Releases by Shareholder and Affiliate Released Parties. Subject in all
respects to the provisions of section 10.04 of this Plan and the Shareholder Settlement
Agreement, on the Effective Date, each of the Shareholder and Affiliate Released Parties shall
unconditionally release, and hereby are deemed to forever unconditionally release, each of the
Debtor, the Debtor’s estate, the Chapter 11 Trustee, the Estate Representative(s), the Official
Committee, the Official Committee members, the Tort Claimants, the Other Contributing
Parties, including, without limitation, GDC, the Individual GDC Insureds, Preferred Mutual,
and the foregoing persons’ and entities’ respective attorneys and advisors (solely in their
respective capacities as such) from any and all Claims, debts, obligations, demands, liabilities,
suits, judgments, damages, rights, and causes of action, whatsoever, whether direct or indirect,
liquidated or unliquidated, fixed or contingent, matured or unmatured, known or unknown,
then existing or thereafter arising, in law, equity or otherwise that are based in whole or in
part upon any act or omission, transaction, transfer, event, or other occurrence taking place
on or prior to the Effective Date in any way relating to the Debtor or to the Debtor’s products,
including, without limitation, the Drugs, the Chapter 11 Case, this Plan, the Disclosure
Statement, the Debtor’s estate, the Policies, GDC and the negotiation or funding of the
Settlement Agreements; provided, however, that this release shall not apply to any Claims
assigned by the Shareholder and Affiliate Released Parties to the Debtor or to the Chapter 11
Trustee pursuant to a Settlement Agreement, nor shall it apply to the right to enforce the
obligations under the Plan, the Settlement Agreements, and the contracts, instruments,
releases and other agreements and documents delivered thereunder.

                                                42
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 48
                                                                   Desc
                                                                     of 59Main
                        Document     Page 47 of 58



               (v)     Releases in Favor of Shareholder and Affiliate Released Parties
(Other than Ameridose). Subject in all respects to the provisions of section 10.04 of this
Plan, on the Effective Date, the Shareholder and Affiliate Released Parties (other than
Ameridose), as well as their respective attorneys and advisors (solely in their respective
capacities as such), shall be forever and unconditionally released from any and all Tort
Claims, Estate Causes of Action, Contributor and Affiliate Released Claims, and all other
Claims, debts, obligations, demands, liabilities, suits, judgments, damages, rights and causes
of action, whatsoever, whether direct or indirect, liquidated or unliquidated, fixed or
contingent, matured or unmatured, known or unknown, then existing or thereafter arising, in
law, equity or otherwise that are based in whole or in part upon any act or omission,
transaction, transfer, event or other occurrence taking place on or prior to the Effective Date
in any way relating to the Debtor or to the Debtor’s products, including, without limitation, the
Drugs, the Chapter 11 Case, this Plan, the Disclosure Statement, the Debtor’s estate, the
Policies, GDC and the negotiation or funding of the Settlement Agreements; provided,
however, that the right to enforce the obligations under the Shareholder Settlement
Agreement, the Shareholder Escrow Agreement and this Plan and the contracts, instruments,
releases and other agreements and documents delivered thereunder, and the right to enforce
the provisions of the Shareholder Settlement Agreement with regard to “Non-Disclosed
Assets” (as defined therein), shall be expressly preserved by the Estate Representative in
accordance with the terms of the Shareholder Settlement Agreement.

               (vi)    Releases by Other Contributing Parties. Subject in all respects to the
provisions of section 10.04 of this Plan, on the Effective Date, each Other Contributing Party
including, without limitation, GDC, the Individual GDC Insureds and Preferred Mutual,
shall unconditionally release, and hereby are deemed to forever unconditionally release, each
of the Debtor, the Debtor’s estate, the Chapter 11 Trustee, the Estate Representative(s) the
Official Committee, the Official Committee members, the Tort Claimants, the Shareholder and
Affiliate Released Parties, each additional Other Contributing Party, and the foregoing
persons’ and entities’ respective attorneys and advisors (solely in their respective capacities as
such) from any and all Claims, debts, obligations, demands, liabilities, suits, judgments,
damages, rights, and causes of action, whatsoever, whether direct or indirect, liquidated or
unliquidated, fixed or contingent, matured or unmatured, known or unknown, then existing or
thereafter arising, in law, equity or otherwise that are based in whole or in part upon any act
or omission, transaction, event, or other occurrence taking place on or prior to the Effective
Date in any way relating to the Debtor or to the Debtor’s products, including, without
limitation, the Drugs, the Chapter 11 Case, this Plan, the Disclosure Statement, the Debtor’s
estate, the Policies, GDC, and the negotiation or funding of the Settlement Agreements;
provided, however, that this release shall not apply to any Claims assigned by the Other
Contributing Parties to the Debtor pursuant to a Settlement Agreement, nor shall it apply to
the right to enforce the obligations under the Plan, the Settlement Agreements, and the
contracts, instruments, releases and other agreements and documents delivered thereunder in
their favor.

              (vii) Releases in Favor of Other Contributing Parties (Other than
Ameridose). Subject in all respects to the provisions of section 10.04 of this Plan, on the
Effective Date, each Other Contributing Party (other than Ameridose), including, without
limitation, GDC, the Individual GDC Insureds and Preferred Mutual, shall be forever and

                                               43
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 49
                                                                   Desc
                                                                     of 59Main
                        Document     Page 48 of 58



unconditionally released from any and all Estate Causes of Action, Tort Claims, NECC
Claims, and all other Claims, debts, obligations, demands, liabilities, suits, judgments,
damages, rights and causes of action, whatsoever, whether direct or indirect, liquidated or
unliquidated, fixed or contingent, matured or unmatured, known or unknown, then existing or
thereafter arising, in law, equity or otherwise that are based in whole or in part upon any act
or omission, transaction, event or other occurrence taking place on or prior to the Effective
Date in any way relating to the Debtor or to the Debtor’s products, including, without
limitation, the Drugs, the Chapter 11 Case, this Plan, the Disclosure Statement, the Debtor’s
estate, the Policies, GDC and the negotiation or funding of the Settlement Agreements;
provided, however, that this release shall not in any way limit the right of the Estate
Representative to enforce the obligations under the Plan, the Settlement Agreements, and the
contracts, instruments, releases and other agreements and documents delivered thereunder in
the Estate’s favor.

               (viii) Releases by Tort Claimants. Subject in all respects to the provisions of
section 10.04 of this Plan, on the Effective Date, each Tort Claimant shall unconditionally
release, and hereby is deemed to forever unconditionally release each of the Debtor, the
Debtor’s estate, the Chapter 11 Trustee, the Estate Representative(s), the Official Committee,
the Official Committee members, the Other Contributing Parties (other than Ameridose),
including, without limitation, GDC, the Individual GDC Insureds and Preferred Mutual, the
Shareholder and Affiliate Released Parties (other than Ameridose), all parties released under
the Settlement Agreements, and the foregoing persons’ and entities’ respective attorneys and
advisors (solely in their capacities as such) from the Tort Claims, the NECC Claims, the
Contributor and Affiliate Released Claims, and any and all claims, debts, obligations,
demands, liabilities, suits, judgments, damages, rights and causes of action, whatsoever,
whether direct or indirect, liquidated or unliquidated, fixed or contingent, matured or
unmatured, known or unknown, then existing or thereafter arising, in law, equity or otherwise
that are based in whole or in part upon any act or omission, transaction, event, or other
occurrence taking place on or prior to the Effective Date in any way relating to the Debtor or
to the Debtor’s products, including, without limitation, the Drugs, the Chapter 11 Case, this
Plan, the Disclosure Statement, the Debtor’s estate, the Policies, GDC and the negotiation of
the Settlement Agreements; provided, however, that this release shall not apply to the right to
enforce the obligations under the Plan, the Settlement Agreement, and the contracts,
instruments, releases and other agreements and documents delivered thereunder in their
favor.

       10.06 Injunctions.

               (i)    No Impact on the Rights of the Parties to the Settlement Agreements.
Nothing in this section 10.06 or otherwise in this Plan or the Confirmation Order, shall affect,
release or otherwise limit the rights and duties of the parties to the Settlement Agreements to
enforce or comply with the provisions of the Settlement Agreements. The rights and duties of
the parties under the Settlement Agreements are set forth in and shall be governed by the
Settlement Agreements.

            (ii)   Injunction in Favor of the Debtor and Estate Representative(s).
Except as to the rights and claims created or expressly preserved by this Plan, the

                                              44
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 50
                                                                   Desc
                                                                     of 59Main
                        Document     Page 49 of 58



Settlement Agreements the Shareholder Escrow Agreement, and the Confirmation Order,
upon the Effective Date, the Debtor, the Chapter 11 Trustee, and the Estate
Representative(s) shall have and be entitled to an injunction forever barring and enjoining
all Persons and/or Entities from asserting against the Debtor any past, present and future
rights, interests, obligations, claims, causes of action, damages (including punitive
damages), demands (including demands for contribution, indemnity or otherwise),
liabilities, expenses, fees (including, but not limited to, attorneys’ fees, expert fees,
consulting fees and other professional fees) and costs of any kind or any type whatsoever,
whether known or unknown, whether foreseen or unforeseen, whether direct or indirect,
contingent or actual, whether liquidated or unliquidated, whether statutory or common
law, whether asserted or unasserted and whether based on contract, negligence, bad faith,
willful, wanton or malicious conduct, or any other theory in law or equity concerning,
arising from or relating to any actual or alleged past, present or future act, omission,
defect, incident, event or circumstance from the beginning of the world to the Effective
Date, in any way relating to or in connection with (i) the Debtor, the Drugs or any and all
products of and/or distributed by the Debtor, or (ii) the Debtor’s estate, the Chapter 11
Case, this Plan, the Disclosure Statement, the Settlement Agreements and/or the Policies,
except with regard to any claims and rights expressly reserved pursuant to Section 10.05
above.

              (iii) Injunction in Favor of Shareholder and Affiliate Released Parties.
Upon the Effective Date, all Persons or Entities shall be permanently barred, enjoined, and
restrained from commencing, prosecuting, continuing or asserting, either derivatively or
on behalf of themselves, in any court, arbitration proceeding, administrative agency, or
other forum in the United States of America or elsewhere, any and all Claims released
pursuant to Section 10.05 above or under the Shareholder Settlement Agreement, whether
the Person or Entity had actual or constructive notice of the terms of the Shareholder
Settlement Agreement, Plan or Confirmation Order or otherwise, except that this
injunction shall not apply to the right of the acting Estate Representative to enforce the
Substitute Lien and the obligations and the acting Estate Representative’s rights under the
Shareholder Settlement Agreement, the Escrow Agreement, the Plan, and the
Confirmation Order.

               (iv)   Injunction in Favor of the Other Contributing Parties. Except as to
the rights and claims created or expressly preserved by this Plan, the Settlement
Agreements, the Escrow Agreement and the Confirmation Order, upon the Effective Date,
the Other Contributing Parties, including, without limitation, GDC, the Individual GDC
Insureds and Preferred Mutual, shall have and be entitled to an injunction forever barring
and enjoining all Persons and/or Entities from asserting against the Other Contributing
Parties any past, present and future rights, interests, obligations, claims, causes of action,
damages (including punitive damages), demands (including demands for contribution,
indemnity or otherwise), liabilities, expenses, fees (including, but not limited to, attorneys’
fees, expert fees, consulting fees and other professional fees) and costs of any kind or any
type whatsoever, whether known or unknown, whether foreseen or unforeseen, whether
contingent or actual, whether direct or indirect, liquidated or unliquidated, whether
statutory or common law, whether asserted or unasserted and whether based on contract,
negligence, bad faith, willful, wanton or malicious conduct, or any other theory in law or

                                              45
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 51
                                                                   Desc
                                                                     of 59Main
                        Document     Page 50 of 58



equity concerning, arising from or relating to any actual or alleged past, present or future
act, omission, defect, incident, event or circumstance from the beginning of the world to the
Effective Date, in any way relating to or in connection with (i) the Debtor, the Drugs or any
and all products of and/or distributed by the Debtor, or (ii) the Debtor’s estate, the
Chapter 11 Case, the Plan, the Disclosure Statement, the Settlement Agreements and/or the
Policies.

        10.07 Covenant Not to Sue. Except as set forth in sections 10.04 and 10.05 of this Plan
and except as to the rights and claims created or expressly preserved by this Plan, neither the
Chapter 11 Trustee, the Estate Representative, the Debtor, the Tort Trustee nor any successor in
interest will commence or prosecute any lawsuit, adversary proceeding or contested matter that
includes a prayer for damages or for equitable relief against the Settling National Insurers or the
Shareholders or Affiliate Released Parties relating to, concerning or arising from the (i) the
Debtor, the Drugs or any and all products of and/or distributed by the Debtor, or (ii) the Debtor’s
estate, the Chapter 11 Case, this Plan, the Disclosure Statement, the Settlement Agreements
and/or the Policies.

       10.08 Covenant Not to Sue (Shareholder and Affiliate Released Parties). Each of
Shareholder and Affiliate Released Parties covenants and agrees not to commence or continue
against the Estate Parties any action or proceeding of any nature whatsoever with respect to
claims released by the Shareholder and Affiliate Released Parties in section 10.05 above and in
the Settlement Agreements, and the Estate Parties covenant and agree not to commence or
continue against the Shareholder and Affiliate Released Parties, any action or proceeding of any
nature whatsoever with respect to Contributor and Affiliate Released Claims.

        10.09 Terms of Pre-Plan Injunction and Stays. Unless otherwise provided in this Plan,
the Confirmation Order or a separate order of the Bankruptcy Court, all injunctions or stays
arising under or entered during the Chapter 11 Case under section 105 or 362 of the Bankruptcy
Code, or otherwise under applicable law, and in existence on the Confirmation Date, shall
remain in full force and effect until the later of the Effective Date and the date indicated in such
applicable order.

                                     ARTICLE XI.
                              RETENTION OF JURISDICTION

       11.01 Jurisdiction of Bankruptcy Court. Except as otherwise explicitly set forth in this
Plan or the Tort Trust Documents as to those matters which are to be considered and determined
by the District Court pursuant to an order withdrawing the reference as to those matters, the
Bankruptcy Court shall retain original and exclusive jurisdiction of matters arising under, arising
out of or related to the Chapter 11 Case and this Plan pursuant to, and for the purposes of,
sections 105(a) and 1142 of the Bankruptcy Code and for all matters, to the maximum extent
permitted by law, including for, among other things, the following purposes:

               (i)    To determine any motion, adversary proceeding, application, contested
matter and other litigated matter pending on or commenced after the Confirmation Date,
including, without limitation, any proceeding relating to an Estate Cause of Action;


                                                46
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 52
                                                                   Desc
                                                                     of 59Main
                        Document     Page 51 of 58



                (ii)    To consider Disputed Claims, including objections, allowance,
classification, priority, compromise, estimation or payment of any Claim, including Class E
Claims;

                (iii) To hear and determine all applications under sections 330, 331 and 503(b)
of the Bankruptcy Code for allowance and payment of Administrative Expense Claims,
including awards of compensation for services rendered and reimbursement of expenses incurred
prior to the Effective Date;

              (iv)   To enter, implement, or enforce such orders as may be appropriate in the
event the Confirmation Order is for any reason stayed, reversed, revoked, modified or vacated;

              (v)    To issue injunctions, enter and implement other orders and take such other
actions as may be necessary or appropriate to restrain interference by any person with the
consummation, implementation, or enforcement of this Plan, the Settlement Agreements, the
Confirmation Order or any other order of the Bankruptcy Court;

              (vi)     To hear and determine any application to modify this Plan in accordance
with section 1127 of the Bankruptcy Code, to remedy any defect or omission or reconcile any
inconsistency in this Plan, the Disclosure Statement, or any order of the Bankruptcy Court,
including the Confirmation Order, in such a manner as may be necessary to carry out the
purposes and effects thereof;

                (vii) To hear and determine disputes arising in connection with the
interpretation, implementation, or enforcement of this Plan, the Confirmation Order, any
transactions or payments contemplated by any of the foregoing, or any agreement or other
document governing or relating to any of the foregoing;

              (viii) To take any action and issue such orders as may be necessary to construe,
enforce, implement, execute and consummate this Plan or to maintain the integrity of this Plan
following consummation;

               (ix)   To recover all assets of the Debtor and property of the Estate, wherever
located;

               (x)    To determine such other matters and for such other purposes as may be
provided in the Confirmation Order;

               (xi)    To hear and determine matters concerning state, local and federal taxes in
accordance with sections 346, 505 and 1146 of the Bankruptcy Code (including, without
limitation, matters with respect to any taxes payable by a trust established in furtherance of this
Plan, including the Tort Trust);

               (xii) To hear and determine any motions intended to directly or indirectly
transfer venue of all or any part of the Chapter 11 Case;

               (xiii) To hear and determine any other matters related to this Plan, the
Disclosure Statement, the Confirmation Order, the Plan Support Funding Agreement, the Estate

                                                47
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 53
                                                                   Desc
                                                                     of 59Main
                        Document     Page 52 of 58



Causes of Action, the Tort Trust Documents and related documents and not inconsistent with the
Bankruptcy Code and title 28 of the United States Code; and

               (xiv)   To enter a final decree closing the Chapter 11 Case.

                                    ARTICLE XII.
                              MISCELLANEOUS PROVISIONS

        12.01 Reporting of Shareholder Settlement Payments. Pursuant to Section 10.3(a) of
the Shareholder Settlement Agreement, to the fullest extent permitted by law, all Shareholder
Settlement Payments shall be characterized and reported for all tax purposes as contributions of
capital by the Shareholders in accordance with their respective ownership positions in NECC,
and the acting Estate Representative shall timely prepare true and accurate Schedule K-1s
containing all information as required by the Tax Code and the IRS to enable the Contributors to
apply for and collect tax refunds in accordance with the Shareholder Settlement Agreement.

        12.02 Tax Information to be Provided to Shareholders. Pursuant to Section 10.3(b) of
the Shareholder Settlement Agreement, the Estate Representative shall provide full and accurate
copies of any and all income tax returns, as supplemented or amended, filed on behalf of the
Debtor to each Shareholder within fourteen (14) days of filing thereof, as well as any additional
related information required by the Shareholders to accurately prepare or amend their personal
tax returns and receive “Net Tax Refunds” (as defined in the Shareholder Settlement
Agreement), with such returns and related information to be maintained as confidential and
subject to the provisions of the Protocol Order.

        12.03 Refunds. Pursuant to Section 10.3(d) of the Shareholder Settlement Agreement,
all procedural or computational decisions and judgments related to the “Refund Claims,” the
“Refunds” and “Net Tax Refunds” (as such terms are defined in the Shareholder Settlement
Agreement) shall be made so as to (i) maximize the amount of the Refund Claims, the Refunds
and the Net Tax Refunds consistent with applicable laws, including, without limitation, the 10-
year loss carryback provisions for product liability matters and (ii) accelerate the timing of the
filing of the Refund Claims and the receipt of the Refunds and the Net Tax Refunds to the extent
reasonably possible and in compliance with applicable laws.

        12.04 Withdrawal of the Reference. The rights of the Plan Proponents to move,
pursuant to 28 U.S.C § 157(d), Bankruptcy Rule 5011, and Local Rule 5011-1, for a withdrawal
of the reference to the Bankruptcy Court of those matters under this Plan or the Tort Trust
Documents which are to be considered and determined by the District Court, shall be and hereby
are expressly preserved, and such motion may be made at any time subsequent to the filing of
this Plan.

        12.05 Dissolution of the Official Committee. The Official Committee shall dissolve on
the Effective Date; provided, however, that (i) the Official Committee shall continue to exist
after the Effective Date for the purposes of opposing any pending appeals of the Confirmation
Order and taking any actions related thereto, and the Official Committee’s professionals may
seek compensation for and reimbursement of expenses related to such opposition and actions, if
any, from the Post-Effective Date Debtor, and (ii) after dissolution of the Official Committee, the

                                                48
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 54
                                                                   Desc
                                                                     of 59Main
                        Document     Page 53 of 58



Official Committee’s professionals shall retain their rights to pursue, review and object to any
applications for compensation and reimbursement of expenses filed in accordance with Section
2.01 and 2.02 of this Plan.

       12.06 Quasi-Judicial Immunity. The Confirmation Order shall provide that the Post-
Confirmation Officer, the Estate Representative, the Tort Trustee, the Settlement
Administrator(s) and the Special Master are entitled to quasi-judicial immunity to the fullest
extent allowed by law in connection with their implementation of the Confirmation Order, this
Plan, the Tort Trust Agreement, the Claims Resolution Facility and the Provider Claims
Resolution Facilities.

        12.07 Payment of Statutory Fees. On the Effective Date, and thereafter as may be
required, the Tort Trustee shall pay all fees payable pursuant to 28 U.S.C. § 1930, including all
quarterly fees pursuant to 28 U.S.C. § 1930 that become due after the Effective Date.

       12.08 Effectuating Documents and Further Transactions. The Chapter 11 Trustee, up
to the Effective Date, and the Post-Confirmation Officer, subsequent to the Effective Date, are
authorized to execute, deliver, file or record such contracts, releases and other agreements or
documents and take such actions as the Chapter 11 Trustee or the Post-Confirmation Officer, as
the case may be, deem to be reasonably necessary or appropriate to effectuate and further
evidence the terms and conditions of this Plan.

        12.09 Exemption from Transfer Taxes. Pursuant to section 1146(c) of the Bankruptcy
Code, the assignment or surrender of any lease or sublease, or the delivery of any deed or other
instrument of transfer under, in furtherance of or in connection with this Plan, including any bills
of sale, or assignments executed in connection with any disposition of assets contemplated by
this Plan (including transfers of assets to and by the Tort Trust) shall not be subject to any stamp,
real estate transfer, mortgage recording, sales, use or other similar tax.

        12.10 Elimination of Vacant Classes. Any Class that is not occupied as of the
commencement of the Confirmation Hearing by an Allowed Claim or a Claim temporarily
allowed under Bankruptcy Rule 3018 or as to which no vote is cast shall be deemed eliminated
from this Plan for purposes of voting to accept or reject this Plan by such Class pursuant to
section 1129(a)(8) of the Bankruptcy Code.

        12.11 Nonconsensual Confirmation. In the event any Impaired Class of Claims does
not accept this Plan in accordance with section 1126 of the Bankruptcy Code, the Plan
Proponents shall request that the Bankruptcy Court confirm this Plan in accordance with section
1129(b) of the Bankruptcy Code. Subject to section 1127 of the Bankruptcy Code, the Plan
Proponents reserve the right to modify this Plan to the extent that confirmation pursuant to
section 1129(b) of the Bankruptcy Code requires modification.

        12.12 Modification of Plan. The Plan may be amended, modified or supplemented by
this Plan Proponents in the manner provided for by section 1127 of the Bankruptcy Code or as
otherwise permitted by law without additional disclosure pursuant to section 1125 of the
Bankruptcy Code, except as the Bankruptcy Court may otherwise direct. Prior to the Effective
Date, the Plan Proponents may make appropriate technical adjustments and modifications to this

                                                 49
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 55
                                                                   Desc
                                                                     of 59Main
                        Document     Page 54 of 58



Plan without further order or approval of the Bankruptcy Court, provided that such technical
adjustments and modifications do not adversely affect in a material way the treatment of holders
of Claims or Equity Interests. In addition, after the Effective Date, so long as such action does
not materially adversely affect the treatment of holders of Claims or Equity Interests under this
Plan, the Post-Confirmation Officer may institute proceedings in the Bankruptcy Court to
remedy any defect or omission or reconcile any inconsistencies in this Plan or the Confirmation
Order. Notwithstanding the foregoing, without the prior express consent of the Contributing
Parties, this Plan may not be amended pursuant to this paragraph if after such amendment, this
Plan would not include the releases and injunctions in favor of the Contributing Parties.

        12.13 Revocation or Withdrawal of Plan. The Plan Proponents, upon their unanimous
consent and agreement, reserve the right to revoke or withdraw this Plan at any time prior to the
Confirmation Date. If the Plan Proponents take such action, this Plan shall be deemed null and
void. In such event, nothing contained herein shall be deemed to constitute a waiver or release
of any Claim by or against the Debtor or any other person or to prejudice in any manner the
rights of the Debtor or any other person in any further proceedings involving the Debtor.

        12.14 Severability. If, prior to the entry of the Confirmation Order, any term or
provision of this Plan is held by the Bankruptcy Court to be invalid, void or unenforceable, the
Bankruptcy Court, at the request of the Plan Proponents, shall have the power to alter and
interpret such term or provision to make it valid or enforceable to the maximum extent
practicable, and such term or provision shall then be applicable as altered or interpreted.
Notwithstanding any such holding, alteration or interpretation, the remainder of the terms and
provisions of this Plan will remain in full force and effect and will in no way be affected,
impaired or invalidated by such holding, alteration or interpretation, except to the extent that
such holding, alteration or interpretation, invalidates a condition to effectiveness of this Plan,
including the releases and injunctions provided for in Sections 10.04 and 10.05. The
Confirmation Order shall constitute a judicial determination and shall provide that each term and
provision of this Plan, as it may have been altered or interpreted in accordance with the
foregoing, is valid and enforceable pursuant to its terms, and upon the Effective Date all such
provisions are accordingly non-severable.

        12.15 Schedules and Exhibits. The schedules and exhibits to this Plan are incorporated
into and are a part of this Plan as if set forth in full herein.

       12.16 Successors and Assigns. All the rights, benefits and obligations of any person
named or referred to in this Plan shall be binding on, and shall inure to the benefit of, the heirs,
executors, administrators, successors and/or assigns of such person.




                                                50
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 56
                                                                   Desc
                                                                     of 59Main
                        Document     Page 55 of 58



       12.17 Notices. Any notice required or permitted to be provided to the Chapter 11
Trustee or the Official Committee under this Plan to be effective shall be in writing (including by
facsimile transmission) and, unless otherwise expressly provided in this Plan, shall be deemed to
have been duly given or made when actually delivered or, in the case of notice by facsimile
transmission, when received and telephonically confirmed, addressed as follows:

               if to the Chapter 11 Trustee, to:

                      DUANE MORRIS LLP
                      100 High Street, Suite 2400
                      Boston, MA 02110
                      Attn:         Paul D. Moore, Esq.
                      Telephone:    (857) 488-4200
                      Facsimile:    (857) 401-3057
                      Email:        pdmoore@duanemorris.com

               if to the Official Committee, to:

                      BROWN RUDNICK LLP
                      One Financial Center
                      Boston, MA 02111
                      Attn:         William R. Baldiga, Esq.
                                    Kiersten A. Taylor, Esq.
                      Telephone:    (617) 856-8200
                      Facsimile:    (617) 856-8201
                      Email:        wbaldiga@brownrudnick.com
                                    ktaylor@brownrudnick.com
                      -and-

                      BROWN RUDNICK LLP
                      7 Times Square
                      New York, NY 10036
                      Attn:        David J. Molton, Esq.
                      Telephone:   (212) 209-4800
                      Facsimile:   (215) 209-4801
                      Email:       dmolton@brownrudnick.com

       12.18 No Admission. Notwithstanding anything herein to the contrary, nothing
contained in this Plan shall be deemed as an admission by the Plan Proponents with respect to
any matter set forth herein including, without limitation, liability on any Claim or the propriety
of any Claim classification.

                                     ARTICLE XIII.
                                 CONFIRMATION REQUEST

       13.01 The Plan Proponents request confirmation of this Plan under section 1129(b) of
the Bankruptcy Code.

                                                   51
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 57
                                                                   Desc
                                                                     of 59Main
                        Document     Page 56 of 58



                                        Schedule 1.06

                                     Affiliated Entities


1. 203 Flanders Road, LLC

2. 205 Flanders Road, LLC

3. Alaunus Pharmaceutical, LLC

4. Ameridose, LLC

5. Cadden Family-2012, LLC

6. Cardo Properties, LLC

7. Conigliaro Block, Inc.

8. Conigliaro Family Investments, LLC

9. Conigliaro Industries, Inc.

10. GDC Holdings, Inc.

11. GDC Properties Management, LLC

12. Hunter Holdings, LLC

13. L & S Creations, Inc.

14. Medical Sales Management, Inc.

15. Medical Sales Management, SW, Inc.

16. Nationwide Foam, Inc.

17. Nationwide Recycling Sales Management, Inc.

18. Physicians Choice Medical Marketing, LLC

19. Stone House Realty Group, LLC
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 58
                                                                   Desc
                                                                     of 59Main
                        Document     Page 57 of 58



                                             Schedule 1.103

                                   National Contributing Parties1


1. Ameridose, as defined in Section 1.08 of the Plan

2. GDC, as defined in Section 1.66 of the Plan

3. The Individual GDC Insureds, as defined in Section 1.77 of the Plan

4. Maxum, as defined in Section 1.95 of the Plan

5. Netherlands Insurance, as defined in Section 1.111 of the Plan

6. Peerless Insurance, as defined in Section 1.118 of the Plan

7. PMIC, as defined in Section 1.131 of the Plan

8. Preferred Mutual, as defined in Section 1.136 of the Plan

9. Victory, as defined in Section 1.184 of the Plan




1      Each National Contributing Party is a National Contributing Party solely in the capacity indicated in the
       Plan.
Case
   Case
     12-19882
        1:13-md-02419-RWZ
               Doc 1054 Filed
                           Document
                              12/03/143583-8
                                        Entered
                                             Filed
                                                12/03/14
                                                   06/11/22
                                                         20:22:20
                                                             Page 59
                                                                   Desc
                                                                     of 59Main
                        Document     Page 58 of 58



                                                 Schedule 1.144

                                       Provider Contributing Parties2


1. High Point, as defined in Section 1.72 of the Plan

2. Inspira, as defined in Section 1.81 of the Plan

3. Ironshore, as defined in Section 1.86 of the Plan

4. Ironshore Specialty Insurance, as defined in Section 1.88 of the Plan.

5. Juno Assurance, as defined in Section 1.89 of the Plan

6. Lexington Insurance, as defined in Section 1.92 of the Plan




61143946




2          Each Provider Contributing Party is a Provider Contributing Party solely in the capacity indicated in the
           Plan.
